              Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 1 of 64




 1   Jeffrey C. Block, pro hac vice
     Jacob A. Walker (SBN 271217)               Whitney E. Street (SBN 223870)
 2   Block & Leviton LLP                        Block & Leviton LLP
     260 Franklin Street, Suite 1860            100 Pine Street, Suite 1250
 3
     Boston, MA 02110                           San Francisco, CA 94111
 4   (617) 398-5600 phone                       (415) 968-8999 phone
     jeff@blockesq.com                          whitney@blockesq.com
 5   jake@blockesq.com
 6
     Attorneys for
 7   Lead Plaintiff Rick Keiner and the Class

 8                               UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA

10
      In re Lyft, Inc. Securities Litigation        Lead Case No. 4:19-cv-02690-HSG
11
12
      This document relates to:                     Consolidated Amended
13                                                  Class Action Complaint for
      All Actions                                   Violations of Federal Securities Laws
14
15                                                  Demand for Jury Trial

16
17
18
19
20
21
22
23
24
25
26
27
28


     AMENDED COMPLAINT                          1                  CASE NO. 4:19-CV-02690-HSG
              Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 2 of 64




 1          1.      Lead Plaintiff Rick Keiner (“Lead Plaintiff” or “Plaintiff”), individually and on
 2   behalf of all others similarly situated, alleges the following based upon the investigation of
 3   plaintiff’s counsel, which included a review of: U.S. Securities and Exchange Commission
 4   (“SEC”) filings by Lyft Inc. (“Lyft” or “the Company”) and other of Lyft’s competitors;
 5   securities analysts’ reports and advisories about the Company; press releases and other public
 6   statements issued by the Company; and media reports about the Company. Plaintiff believes that
 7   substantial additional evidentiary support will exist for the allegations set forth herein after a
 8   reasonable opportunity for discovery.
 9                                               Introduction
10          2.      Plaintiff, on behalf of the Class, brings claims against all Defendants for
11   violations of Sections 11, 12(a)(2), and 15 of the Securities Act of 1933 (the “Securities Act”).
12          3.      The issuance of Lyft common stock in connection with the initial public offering
13   (“IPO” or “Offering”) was registered under the Securities Act of 1933, as amended, pursuant to
14   Lyft’s registration statement on Form S-1 (File No. 333-229996) declared effective on March 28,
15   2019 (the “Registration Statement”). This case arises from untrue statements of material fact
16   made in those offering documents, the omission of material facts necessary in order to make the
17   statements contained in the Registration Statement not materially false or misleading, as well as
18   the omission of material facts required to be stated therein.
19          4.      Lyft is a ridesharing company. Beginning in 2012, Lyft sought to revolutionize
20   transportation by launching its peer-to-peer marketplace for on-demand ridesharing.
21          5.      On March 28, 2019, Lyft offered 32.5 million shares to the public through an IPO
22   at a price of $72.00 per share for total proceeds of $2.34 billion.
23          6.      Unbeknownst to investors, however, certain of the Registration Statement’s
24   representations were materially misleading, omitted information necessary in order to make the
25   statements not misleading, and omitted material facts required to be stated therein. Specifically,
26   the Registration Statement misled investors with respect to: (1) the potential for severe
27   reputational damage and legal liability due to rampant sexual assaults committed by Lyft drivers;
28   (2) the Company’s actual national market share; (3) the key metrics promoted by the Company


     AMENDED COMPLAINT                                 2                   CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 3 of 64




 1   to investors as important measurements of the Company’s financial performance and growth
 2   were about to be abandoned; (4) the Company was days away from closing its first quarter with a
 3   massive loss; (5) safety issues regarding the Company’s bike sharing business jeopardized the
 4   Company’s growth plans; and (6) labor conflicts with the Company’s drivers, all of which were
 5   known to, but concealed by Defendants at the time of the IPO.
 6          7.      The Securities Act provides for strict liability for untrue and misleading
 7   statements and omissions of material facts made in connection with public securities offerings, in
 8   order to protect investors and maintain confidence in the public markets.
 9          8.      Lyft is strictly liable for any and all material untrue statements or omissions
10   contained in the Registration Statement. Furthermore, because this case involves a Registration
11   Statement, Defendants also had an independent, affirmative duty, which they failed to fulfill: (1)
12   to provide adequate disclosures about “any known trends or uncertainties that have had or that
13   the registrant reasonably expects will have a material favorable or unfavorable impact on net
14   sales or revenues or income from continuing operations,” (Item 303 of SEC Reg. S-K, 17 C.F.R.
15   § 229.303(a)(3)(ii)); and (2) to disclose a “discussion of the most significant factors that make
16   the offering speculative or risky,” (Item 105 of SEC Reg. S-K, 17 C.F.R. § 229.105).
17          9.      The Registration Statement failed to adhere to the requirements of the Securities
18   Act and disclosure requirements provided by SEC regulations.
19          10.     First, Lyft and its rival, Uber, dominate the rideshare market, with the two
20   comprising roughly 98% of the total market. Lyft has always held a smaller share of that market
21   than Uber and has sought to differentiate itself by cultivating a reputation as a “safe, progressive
22   alternative.” To that end, Lyft built a reputation as a company that cares about women, safety,
23   and social issues.
24          11.     Lyft’s focus on the strength of its reputation was a key selling point to IPO
25   investors.
26          12.     Contrary to the public image that Lyft had created and touted in the Registration
27   Statement, news articles and class action complaints would later reveal that Lyft had a pervasive
28   problem with sexual assaults committed by its drivers dating back several years and that


     AMENDED COMPLAINT                                3                  CASE NO. 4:19-CV-02690-HSG
                Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 4 of 64




 1   continued in the months immediately preceding the IPO. Lyft avoided taking the necessary steps
 2   to curb the sexual assault problem out of fear that doing so would result in its drivers being
 3   classified as employees rather than independent contractors, which would trigger certain legal
 4   and financial obligations. Additionally, at the time of the IPO, Lyft lacked basic safety features
 5   such as a “panic button” or a “continuous background check” policy to screen out problematic
 6   drivers.
 7             13.   Lyft failed to disclose these pervasive sexual assault and safety issues in the
 8   Registration Statement. Indeed, the Registration Statement makes no reference to sexual assault
 9   at all.
10             14.   Almost immediately after the IPO, Lyft faced an avalanche of negative press and
11   lawsuits that revealed just how serious Lyft’s problems were. Far from being the safe, socially
12   conscious alternative to Uber, attorneys litigating sexual assault cases against both Uber and Lyft
13   reported seeing a disproportionate number of cases against Lyft. Similarly, a September 2019
14   lawsuit alleges that Lyft “stone-wall[ed]” law enforcement and that “many of the assault victims
15   have been told by detectives handling their case that Lyft’s Trust and Safety team are often
16   unresponsive to the detectives’ requests.” These cases involve sexual assaults that occurred
17   before the IPO.
18             15.   Second, according to the Registration Statement and Prospectus filed in
19   connection with the IPO, Lyft estimated that its ridesharing marketplace “is available to over
20   95% of the U.S. population, as well as in select cities in Canada.” Lyft represented that its “U.S.
21   ridesharing market share was 39% in December 2018, up from 22% in December 2016.”
22             16.   In the immediate wake of the IPO, investors and analysts raised concerns that
23   Lyft’s reported market share over 39% may have been overstated and that Lyft’s true market
24   share was likely only 24% to 28%.
25             17.   These concerns were exacerbated on April 11, 2019, when Uber filed its Form S-
26   1 with the SEC in anticipation of its IPO. Uber’s Form S-1 claimed a market share greater than
27   65%, casting further doubt on Lyft’s claim of 39% market share.
28


     AMENDED COMPLAINT                                 4                  CASE NO. 4:19-CV-02690-HSG
              Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 5 of 64




 1           18.     Third, the Registration Statement repeatedly emphasized Lyft’s continuous
 2   increases in “Bookings” and “Revenue as a Percentage of Bookings” as key metrics of
 3   performance and growth.
 4           19.     These key metrics were important. In the lead up to the IPO, a major question for
 5   investors was whether Lyft would ever become profitable.
 6           20.     The Registration Statement failed to disclose, however, that despite highlighting
 7   the importance of these key metrics, the Company planned to, and did abandon them when it
 8   reported its first earnings as a public company just weeks after the IPO.
 9           21.     Lyft’s sudden removal of these metrics was ill-received. One article criticized the
10   Company’s decision, writing “Lyft had highlighted gross bookings in its IPO filing and in
11   particular its take rate, . . . . For the company to suddenly stop sharing those figures in its first
12   quarterly earnings report is a surprise.”
13           22.     Fourth, the Registration Statement made no mention of the fact that at the time of
14   the IPO, Lyft was just three days away from closing out the first quarter of 2019 with a record
15   $1.14 billion loss.
16           23.     Lyft attempted to downplay the significance of the loss by attributing it to
17   compensation charges related to the IPO. However, Lyft’s adjusted loss, which excluded roughly
18   $894 million in stock-based compensation and other adjustments, came in at $211 million or
19   approximately $9 per share. Even the adjusted loss, which many analysts criticized for its use
20   unconventional accounting methods, came in at nearly three times analysts’ expected losses of
21   $3.77 per share.
22           24.     Fifth, in November 2018, Lyft acquired Bikeshare Holdings LLC’s (“Motivate”)
23   technology and corporate functions for $251 million. In 2017, Motivate was the largest bikeshare
24   operator in North America with revenue of approximately $100 million. This acquisition enabled
25   Lyft to add bikes to its suite of services. According to its Form S-1, Lyft acquired Motivate to
26   “establish a solid foothold in the bikeshare market and offer access to new transportation options
27   on the Lyft Platform.”
28


     AMENDED COMPLAINT                                  5                   CASE NO. 4:19-CV-02690-HSG
              Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 6 of 64




 1          25.     The Registration Statement devoted significant focus to the key role that the
 2   expansion of Lyft’s bikesharing business would play in the Company’s future growth.
 3          26.     Lyft failed to disclose, however, that these growth plans were in jeopardy because
 4   thousands of Lyft’s bikes were plagued with dangerous defects and because the Company had
 5   been unable to keep up with maintenance requirements to ensure availability to riders.
 6          27.     Shortly after the IPO, news articles revealed that in the months leading up to the
 7   Offering, dozens of riders had suffered serious injuries as result of a defective braking system
 8   utilized on Lyft’s electric bikes. Just two weeks after going public, Lyft announced that it was
 9   pulling thousands of its electric bike fleet in its largest markets. Shimano, the company whose
10   brakes were used on the electric bikes issued a statement putting the blame on Lyft for failing to
11   follow Shimano’s specifications which required use of a power modulator to ensure that the
12   brakes worked as intended.
13          28.     Sixth, the Registration Statement also highlighted Lyft’s treatment of its drivers,
14   portraying the Company as “Driver-Centric” and touting the benefits offered to drivers.
15          29.     Lyft failed to disclose that its strategy of treating drivers as independent
16   contractors led to labor unrest which threatened the Company’s operations. In the lead-up to the
17   IPO, the Company increasingly charged higher “surge pricing” which caused Lyft to retain a
18   higher portion of the additional revenue without sharing a proportionate share with drivers. This
19   led to decreased payments to drivers, disincentivizing them from driving for Lyft.
20          30.     Just days before the IPO, Lyft drivers in Los Angeles had gone on strike for 25
21   hours. Lyft drivers went on strike again in major cities across the country on May 8, 2019.
22          31.     At the time of the IPO, Lyft was actively fighting efforts by the State of California
23   to make it easier to classify Lyft drivers as employees.
24          32.     Lyft’s strategy of treating drivers as independent contractors caused harm beyond
25   ill-will from drivers. This strategy also caused Lyft to avoid providing critical sexual assault
26   training to drivers for fear that it could lead to drivers being classified as employees.
27          33.     Lyft’s focus on its reputation, market share gain and position, growth in key
28   metrics, and expansion of its bikesharing platform were key selling points to IPO investors.


     AMENDED COMPLAINT                                 6                  CASE NO. 4:19-CV-02690-HSG
              Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 7 of 64




 1          34.        As the true facts emerged in the wake of the Offering, the Company’s shares fell
 2   sharply from $72.00 to under $54.00 on May 17, 2019.
 3          35.        By this action, Plaintiff, on behalf of himself and other Class Members who also
 4   acquired the Company’s shares pursuant or traceable to the Offering, now seeks to obtain a
 5   recovery for the damages suffered as a result of Defendants’ violations of the Securities Act, as
 6   alleged herein.
 7          36.        The claims asserted herein are purely strict liability and negligence claims.
 8   Plaintiff expressly eschews any allegation sounding in fraud.
 9                                          Jurisdiction and Venue
10          37.        The claims asserted herein arise under the Securities Act Section 11 (15 U.S.C.
11   §77k), Section 12(a)(2) (15 U.S.C. §77l), and Section 15 (15 U.S.C. §77o).
12          38.        Jurisdiction is conferred by 28 U.S.C. § 1331 and Section 22 of the Securities Act
13   (15 U.S.C. §77v).
14          39.        Venue is proper in this District pursuant to 28 U.S.C. §1391(b) and Section 22 of
15   the Securities Act (15 U.S.C. §77v) as certain of the Defendants reside, are headquartered, and/or
16   maintain operations, in this District. Defendants’ wrongful acts also arose in and emanated from,
17   in part, this District, including the dissemination of materially misleading statements into this
18   District and the purchase of the Company’s common stock by members of the Class (defined
19   herein) who reside in this District.
20          40.        In connection with the acts, transactions, and conduct alleged in this Complaint,
21   Defendants directly and indirectly used the means and instrumentalities of interstate commerce,
22   including the United States mail, interstate telephone communications, and the facilities of a
23   national securities exchange.
24                                                   Parties
25          41.        Plaintiff purchased shares of the Company's common stock as reflected in his
26   certification (ECF No. 49-1). These shares were issued pursuant and traceable to the Registration
27   Statement and Offering, and Plaintiff was damaged thereby.
28


     AMENDED COMPLAINT                                   7                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 8 of 64




 1          42.     Defendant Lyft is a transportation network company based in San Francisco,
 2   California. Lyft’s shares are listed and trade on the NASDAQ under the ticker symbol “LYFT.”
 3   Lyft operates a peer-to-peer marketplace for on-demand ridesharing, including access to motor
 4   vehicles, shared bikes, and shared scooters.
 5          43.     At the time of the IPO, Defendant Green, who co-founded the Company with
 6   Defendant Zimmer, was serving as Chief Executive Officer and as a director on Lyft’s board of
 7   directors (the “Board”). Defendant Green participated in the preparation of, and signed, the
 8   Registration Statement.
 9          44.     At the time of the IPO, Defendant Zimmer, who co-founded the Company with
10   Defendant Green, was serving as President and Vice Chairman of the Board. Defendant Zimmer
11   participated in the preparation of and signed the Registration Statement.
12          45.     At the time of the IPO, Defendant Brian Roberts (“Roberts”) was serving as Chief
13   Financial Officer. Defendant Roberts participated in the preparation of and signed the
14   Registration Statement.
15          46.     At the time of the IPO, Defendant Prashant (Sean) Aggarwal (“Aggarwal”) was
16   serving as Chairman of the Lyft Board. Defendant Aggarwal participated in the preparation of
17   and signed the Registration Statement.
18          47.     At the time of the IPO, Defendant Ben Horowitz (“Horowitz”) was a director on
19   the Lyft Board. Defendant Horowitz participated in the preparation of and signed the
20   Registration Statement.
21          48.     At the time of the IPO, Defendant Valerie Jarrett (“Jarrett”) was a director on the
22   Lyft Board. Defendant Jarrett participated in the preparation of and signed the Registration
23   Statement.
24          49.     At the time of the IPO, Defendant David Lawee (“Lawee”) was a director on the
25   Lyft Board. Defendant Lawee participated in the preparation of and signed the Registration
26   Statement.
27
28


     AMENDED COMPLAINT                               8                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 9 of 64




 1          50.     At the time of the IPO, Defendant Hiroshi Mikitani (“Mikitani”) was a director on
 2   the Lyft Board. Defendant Mikitani participated in the preparation of and signed the Registration
 3   Statement.
 4          51.     At the time of the IPO, Defendant Ann Miura-Ko (“Miura-Ko”) was a director on
 5   the Lyft Board. Defendant Miura-Ko participated in the preparation of and signed the
 6   Registration Statement.
 7          52.     At the time of the IPO, Defendant Mary Agnes (Maggie) Wilderotter
 8   (“Wilderotter”) was a director on the Lyft Board. Defendant Wilderotter participated in the
 9   preparation of and signed the Registration Statement.
10          53.     Defendants Green, Zimmer, Roberts, Aggarwal, Christodoro, Horowitz, Jarrett,
11   Lawee, Mikitani, Miura-Ko, and Wilderotter are collectively referred to herein as the “Individual
12   Defendants.”
13          54.     The following underwriters were also instrumental in soliciting and making the
14   stock offered in the IPO available to the investing public:
15
16           Name                                                           Number of Shares

17           JP Morgan Securities                                                           10,400,00
18           Credit Suisse Securities (USA) LLC                                             8,775,000
19           Jefferies LLC                                                                  4,387,500
20           UBS Securities LLC                                                             1,982,500
21           Stifel, Nicolaus & Company, Incorporated                                       1,300,000
22           RBC Capital Markets, LLC                                                       1,462,500
23           KeyBanc Capital Markets, Inc.                                                  1,462,500
24           Cowen and Company, LLC                                                          325,000
25           Raymond James & Associates, Inc.                                                325,000

26           Canaccord Genuity LLC                                                           260,000

27           Evercore Group, LLC                                                             260,000

28           Piper Jaffray & Co.                                                             260,000


     AMENDED COMPLAINT                                9                CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 10 of 64




 1           JMP Securities LLC                                                                227,500

 2           Wells Fargo Securities                                                            227,500

 3           KKR Capital Markets, LLC                                                           81,250

 4           Academy Securities, Inc.                                                           65,000

 5           Blaylock Van, LLC                                                                  65,000
             Penserra Securities LLC                                                            65,000
 6
             Siebert Cisneros Shank & Co., LLC                                                  65,000
 7
             The Williams Capital Group, LP                                                     65,000
 8
             CastleOak Securities, LP                                                           48,750
 9
             CL King & Associates, Inc.                                                         48,750
10
             Drexel Hamilton                                                                    48,750
11
             Great Pacific Securities                                                           48,750
12
             Loop Capital Markets LLC                                                           48,750
13
             Mischler Financial Group, Inc.                                                     48,750
14
             Samuel A. Ramirez & Company, Inc.                                                  48,750
15
             R Seelaus & Co., LLC                                                               48,750
16
             Tigress Financial Partners, LLC                                                    48,750
17
            55.     Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) was an underwriter of the
18
     Company’s Offering, serving as a financial advisor for and assisting in the preparation and
19
     dissemination of the Company’s false and misleading Registration Statement and Prospectus.
20
     J.P. Morgan acted as a representative of all the underwriters. J.P. Morgan also participated in
21
     conducting and promoting the roadshow for the Offering and paying for the expenses of the
22
     Individual Defendants who participated in the roadshow, including lodging and travel, among
23
     other expenses. J.P. Morgan’s participation in the solicitation of the Offering was motivated by
24
     its financial interests. Defendant J.P. Morgan conducts business in the State of California.
25
            56.     Defendant Credit Suisse Securities (USA) LLC (“Credit Suisse”) was an
26
     underwriter of the Company’s Offering, serving as a financial advisor for and assisting in the
27
     preparation and dissemination of the Company’s false and misleading Registration Statement
28


     AMENDED COMPLAINT                               10                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 11 of 64




 1   and Prospectus. Credit Suisse acted as a representative of all the underwriters. Credit Suisse also
 2   participated in conducting and promoting the roadshow for the Offering and paying for the
 3   expenses of the Individual Defendants who participated in the roadshow, including lodging and
 4   travel, among other expenses. Credit Suisse's participation in the solicitation of the Offering was
 5   motivated by its financial interests. Defendant Credit Suisse conducts business in the State of
 6   California.
 7          57.     Defendant Jefferies LLC (“Jefferies”) was an underwriter of the Company’s
 8   Offering, serving as a financial advisor for and assisting in the preparation and dissemination of
 9   the Company’s false and misleading Registration Statement and Prospectus. Jefferies acted as a
10   representative of all the underwriters. Jefferies also participated in conducting and promoting the
11   roadshow for the Offering and paying for the expenses of the Individual Defendants who
12   participated in the roadshow, including lodging and travel, among other expenses. Jefferies’
13   participation in the solicitation of the Offering was motivated by its financial interests.
14   Defendant Jefferies conducts business in the State of California.
15          58.     Defendant UBS Securities LLC (“UBS”) was an underwriter of the Company’s
16   Offering, serving as a financial advisor for and assisting in the preparation and dissemination of
17   the Company’s false and misleading Registration Statement and Prospectus. UBS also
18   participated in conducting and promoting the roadshow for the Offering and paying for the
19   expenses of the Individual Defendants who participated in the roadshow, including lodging and
20   travel, among other expenses. UBS’s participation in the solicitation of the Offering was
21   motivated by its financial interests. Defendant UBS conducts business in the State of California.
22          59.     Defendant Stifel, Nicolaus & Company, Incorporated (“Stifel Nicolaus”) was an
23   underwriter of the Company’s Offering, serving as a financial advisor for and assisting in the
24   preparation and dissemination of the Company’s false and misleading Registration Statement
25   and Prospectus. Stifel Nicolaus also participated in conducting and promoting the roadshow for
26   the Offering and paying for the expenses of the Individual Defendants who participated in the
27   roadshow, including lodging and travel, among other expenses. Stifel Nicolaus’ participation in
28


     AMENDED COMPLAINT                                 11                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 12 of 64




 1   the solicitation of the Offering was motivated by its financial interests. Defendant Stifel Nicolaus
 2   conducts business in the State of California.
 3          60.     Defendant RBS Capital Markets, LLC (“RBS”) was an underwriter of the
 4   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
 5   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
 6   RBS also participated in conducting and promoting the roadshow for the Offering and paying for
 7   the expenses of the Individual Defendants who participated in the roadshow, including lodging
 8   and travel, among other expenses. RBS’s participation in the solicitation of the Offering was
 9   motivated by its financial interests. Defendant RBS conducts business in the State of California.
10          61.     Defendant KeyBanc Capital Markets Inc. (“KeyBanc”) was an underwriter of the
11   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
12   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
13   KeyBanc also participated in conducting and promoting the roadshow for the Offering and
14   paying for the expenses of the Individual Defendants who participated in the roadshow,
15   including lodging and travel, among other expenses. KeyBanc’s participation in the solicitation
16   of the Offering was motivated by its financial interests. Defendant Key Banc conducts business
17   in the State of California.
18          62.     Defendant Cowen and Company, LLC (“Cowen”) was an underwriter of the
19   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
20   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
21   Cowen also participated in conducting and promoting the roadshow for the Offering and paying
22   for the expenses of the Individual Defendants who participated in the roadshow, including
23   lodging and travel, among other expenses. Cowen’s participation in the solicitation of the
24   Offering was motivated by its financial interests. Defendant Cowen conducts business in the
25   State of California.
26          63.     Defendant Raymond James & Associates, Inc. (“Raymond James”) was an
27   underwriter of the Company’s Offering, serving as a financial advisor for and assisting in the
28   preparation and dissemination of the Company’s false and misleading Registration Statement


     AMENDED COMPLAINT                               12                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 13 of 64




 1   and Prospectus. Raymond James also participated in conducting and promoting the roadshow
 2   for the Offering and paying for the expenses of the Individual Defendants who participated in the
 3   roadshow, including lodging and travel, among other expenses. Raymond James’s participation
 4   in the solicitation of the Offering was motivated by its financial interests. Defendant Raymond
 5   James conducts business in the State of California.
 6          64.     Defendant Canaccord Genuity LLC (“Canaccord”) was an underwriter of the
 7   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
 8   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
 9   Canaccord also participated in conducting and promoting the roadshow for the Offering and
10   paying for the expenses of the Individual Defendants who participated in the roadshow,
11   including lodging and travel, among other expenses. Canaccord’s participation in the solicitation
12   of the Offering was motivated by its financial interests. Defendant Canaccord conducts business
13   in the State of California.
14          65.     Defendant Evercore Group L.L.C. (“Evercore”) was an underwriter of the
15   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
16   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
17   Evercore also participated in conducting and promoting the roadshow for the Offering and
18   paying for the expenses of the Individual Defendants who participated in the roadshow,
19   including lodging and travel, among other expenses. Evercore’s participation in the solicitation
20   of the Offering was motivated by its financial interests. Defendant Evercore conducts business in
21   the State of California.
22          66.     Defendant Piper Jaffray & Co. (“Piper Jaffray”) was an underwriter of the
23   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
24   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
25   Piper Jaffray also participated in conducting and promoting the roadshow for the Offering and
26   paying for the expenses of the Individual Defendants who participated in the roadshow,
27   including lodging and travel, among other expenses. Piper Jaffray’s participation in the
28


     AMENDED COMPLAINT                              13                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 14 of 64




 1   solicitation of the Offering was motivated by its financial interests. Defendant Piper Jaffray
 2   conducts business in the State of California.
 3          67.     Defendant JMP Securities LLC (“JMP”) was an underwriter of the Company’s
 4   Offering, serving as a financial advisor for and assisting in the preparation and dissemination of
 5   the Company's false and misleading Registration Statement and Prospectus. JMP also
 6   participated in conducting and promoting the roadshow for the Offering and paying for the
 7   expenses of the Individual Defendants who participated in the roadshow, including lodging and
 8   travel, among other expenses. JMP’s participation in the solicitation of the Offering was
 9   motivated by its financial interests. Defendant JMP conducts business in the State of California.
10          68.     Defendant Wells Fargo Securities, LLC (“Wells Fargo”) was an underwriter of
11   the Company’s Offering, serving as a financial advisor for and assisting in the preparation and
12   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
13   Wells Fargo also participated in conducting and promoting the roadshow for the Offering and
14   paying for the expenses of the Individual Defendants who participated in the roadshow,
15   including lodging and travel, among other expenses. Well Fargo’s participation in the
16   solicitation of the Offering was motivated by its financial interests. Defendant Wells Fargo
17   conducts business in the State of California.
18          69.     Defendant KKR Capital Markets LLC (“KKR”) was an underwriter of the
19   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
20   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
21   KKR also participated in conducting and promoting the roadshow for the Offering and paying
22   for the expenses of the Individual Defendants who participated in the roadshow, including
23   lodging and travel, among other expenses. KKR’s participation in the solicitation of the Offering
24   was motivated by its financial interests. Defendant KKR conducts business in the State of
25   California.
26          70.     Defendant Academy Securities, Inc. (“Academy”) was an underwriter of the
27   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
28   dissemination of the Company’s false and misleading Registration Statement and Prospectus.


     AMENDED COMPLAINT                               14                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 15 of 64




 1   Academy also participated in conducting and promoting the roadshow for the Offering and
 2   paying for the expenses of the Individual Defendants who participated in the roadshow,
 3   including lodging and travel, among other expenses. Academy’s participation in the solicitation
 4   of the Offering was motivated by its financial interests. Defendant Academy conducts business
 5   in the State of California.
 6          71.     Defendant Blaylock Van, LLC (“Blaylock”) was an underwriter of the
 7   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
 8   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
 9   Blaylock also participated in conducting and promoting the roadshow for the Offering and
10   paying for the expenses of the Individual Defendants who participated in the roadshow,
11   including lodging and travel, among other expenses. Blaylock’s participation in the solicitation
12   of the Offering was motivated by its financial interests. Defendant Blaylock conducts business
13   in the State of California.
14          72.     Defendant Penserra Securities LLC (“Penserra”) was an underwriter of the
15   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
16   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
17   Penserra also participated in conducting and promoting the roadshow for the Offering and paying
18   for the expenses of the Individual Defendants who participated in the roadshow, including
19   lodging and travel, among other expenses. Penserra’s participation in the solicitation of the
20   Offering was motivated by its financial interests. Defendant Penserra conducts business in the
21   State of California.
22          73.     Defendant Siebert Cisneros Shank & Co., L.L.C (“Siebert”) was an underwriter of
23   the Company’s Offering, serving as a financial advisor for and assisting in the preparation and
24   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
25   Siebert also participated in conducting and promoting the roadshow for the Offering and paying
26   for the expenses of the Individual Defendants who participated in the roadshow, including
27   lodging and travel, among other expenses. Siebert’s participation in the solicitation of the
28


     AMENDED COMPLAINT                               15                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 16 of 64




 1   Offering was motivated by its financial interests. Defendant Siebert conducts business in the
 2   State of California.
 3          74.     Defendant The Williams Capital Group, L.P. (“Williams Capital”) was an
 4   underwriter of the Company’s Offering, serving as a financial advisor for and assisting in the
 5   preparation and dissemination of the Company’s false and misleading Registration Statement
 6   and Prospectus. Williams Capital also participated in conducting and promoting the roadshow
 7   for the Offering and paying for the expenses of the Individual Defendants who participated in the
 8   roadshow, including lodging and travel, among other expenses. Williams Capital’s participation
 9   in the solicitation of the Offering was motivated by its financial interests. Defendant Williams
10   Capital conducts business in the State of California.
11          75.     Defendant CastleOak Securities, L.P. (“CastleOak”) was an underwriter of the
12   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
13   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
14   CastleOak also participated in conducting and promoting the roadshow for the Offering and
15   paying for the expenses of the Individual Defendants who participated in the roadshow,
16   including lodging and travel, among other expenses. CastleOak’s participation in the solicitation
17   of the Offering was motivated by its financial interests. Defendant CastleOak conducts business
18   in the State of California.
19          76.     Defendant C.L. King & Associates, Inc. (“C.L. King”) was an underwriter of the
20   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
21   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
22   C.L. King also participated in conducting and promoting the roadshow for the Offering and
23   paying for the expenses of the Individual Defendants who participated in the roadshow,
24   including lodging and travel, among other expenses. C.L. King’s participation in the solicitation
25   of the Offering was motivated by its financial interests. Defendant C.L. King conducts business
26   in the State of California.
27          77.     Defendant Drexel Hamilton, LLC (“Drexel”) was an underwriter of the
28   Company’s Offering, serving as a financial advisor for and assisting in the preparation and


     AMENDED COMPLAINT                               16                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 17 of 64




 1   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
 2   Drexel also participated in conducting and promoting the roadshow for the Offering and paying
 3   for the expenses of the Individual Defendants who participated in the roadshow, including
 4   lodging and travel, among other expenses. Drexel’s participation in the solicitation of the
 5   Offering was motivated by its financial interests. Defendant Drexel conducts business in the
 6   State of California.
 7          78.     Defendant Great Pacific Securities (“Great Pacific”) was an underwriter of the
 8   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
 9   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
10   Great Pacific also participated in conducting and promoting the roadshow for the Offering and
11   paying for the expenses of the Individual Defendants who participated in the roadshow,
12   including lodging and travel, among other expenses. Great Pacific’s participation in the
13   solicitation of the Offering was motivated by its financial interests. Defendant Great Pacific
14   conducts business in the State of California.
15          79.     Defendant Loop Capital Markets LLC (“Loop Capital”) was an underwriter of the
16   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
17   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
18   Loop Capital also participated in conducting and promoting the roadshow for the Offering and
19   paying for the expenses of the Individual Defendants who participated in the roadshow,
20   including lodging and travel, among other expenses. Loop Capital’s participation in the
21   solicitation of the Offering was motivated by its financial interests. Defendant Loop Capital
22   conducts business in the State of California.
23          80.     Defendant Mischler Financial Group, Inc. (“Mischler”) was an underwriter of the
24   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
25   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
26   Mischler also participated in conducting and promoting the roadshow for the Offering and
27   paying for the expenses of the Individual Defendants who participated in the roadshow,
28   including lodging and travel, among other expenses. Mischler’s participation in the solicitation


     AMENDED COMPLAINT                               17                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 18 of 64




 1   of the Offering was motivated by its financial interests. Defendant Mischler conducts business
 2   in the State of California.
 3          81.     Defendant Samuel A. Ramirez & Company, Inc. (“Ramirez”) was an underwriter
 4   of the Company’s Offering, serving as a financial advisor for and assisting in the preparation and
 5   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
 6   Ramirez also participated in conducting and promoting the roadshow for the Offering and paying
 7   for the expenses of the Individual Defendants who participated in the roadshow, including
 8   lodging and travel, among other expenses. Ramirez’s participation in the solicitation of the
 9   Offering was motivated by its financial interests. Defendant Ramirez conducts business in the
10   State of California.
11          82.     Defendant R. Seelaus & Co, LLC (“Seelaus”) was an underwriter of the
12   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
13   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
14   Seelaus also participated in conducting and promoting the roadshow for the Offering and paying
15   for the expenses of the Individual Defendants who participated in the roadshow, including
16   lodging and travel, among other expenses. Seelaus’s participation in the solicitation of the
17   Offering was motivated by its financial interests. Defendant Seelaus conducts business in the
18   State of California.
19          83.     Defendant Tigress Financial Partners LLC (“Tigress”) was an underwriter of the
20   Company’s Offering, serving as a financial advisor for and assisting in the preparation and
21   dissemination of the Company’s false and misleading Registration Statement and Prospectus.
22   Tigress also participated in conducting and promoting the roadshow for the Offering and paying
23   for the expenses of the Individual Defendants who participated in the roadshow, including
24   lodging and travel, among other expenses. Tigress’s participation in the solicitation of the
25   Offering was motivated by its financial interests. Defendant Tigress conducts business in the
26   State of California.
27
28


     AMENDED COMPLAINT                               18                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 19 of 64




 1           84.     The Defendants in paragraphs 54-83 are collectively referred to herein as the
 2   “Underwriter Defendants.” Lyft, the Individual Defendants, and the Underwriter Defendants are
 3   collectively referred to herein as the “Defendants.”
 4           85.     Pursuant to the Securities Act, the Underwriter Defendants are liable for the false
 5   and misleading statements in the Offering’s Registration Statement and Prospectus. The
 6   Underwriter Defendants’ failure to conduct adequate due diligence investigations was a
 7   substantial factor leading to the harm complained of herein.
 8           86.     The Underwriter Defendants are primarily investment banking houses that
 9   specialize, among other things, in underwriting public offerings of securities. As the
10   underwriters of the Offering, the Underwriter Defendants earned lucrative underwriting fees as a
11   result of their participation in the Offering.
12           87.     In addition, the Underwriter Defendants met with potential investors and
13   presented highly favorable, but materially incorrect and/or materially misleading, information
14   about the Company, its business, products, plans, and financial prospects, and/or omitted to
15   disclose material information required to be disclosed under the federal securities laws and
16   applicable regulations promulgated thereunder.
17           88.     Representatives of the Underwriter Defendants also assisted the Company and
18   Individual Defendants in planning the Offering. They further purported to conduct an adequate
19   and reasonable investigation into the business, operations, products, and plans of the Company,
20   an undertaking known as a “due diligence” investigation. During the course of their “due
21   diligence,” the Underwriter Defendants had continual access to confidential corporate
22   information concerning the Company’s business, financial condition, products, plans, and
23   prospects.
24           89.     In addition to having access to internal corporate documents, the Underwriter
25   Defendants and/or their agents, including their counsel, had access to the Company’s lawyers,
26   management, directors, and top executives to determine: (i) the strategy to best accomplish the
27   Offering; (ii) the terms of the Offering, including the price at which the Company's common
28   stock would be sold; (iii) the language to be used in the Registration Statement; (iv) what


     AMENDED COMPLAINT                                19                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 20 of 64




 1   disclosures about the Company would be made in the Registration Statement; and (v) what
 2   responses would be made to the SEC in connection with its review of the Registration Statement.
 3   As a result of those constant contacts and communications between the Underwriter Defendants’
 4   representatives and the Company’s management and top executives, at a minimum, the
 5   Underwriter Defendants should have known of the Company’s undisclosed existing problems
 6   and plans and the material misstatements and omissions contained in the Registration Statement,
 7   as detailed herein.
 8          90.       The Underwriter Defendants caused the Registration Statement to be filed with
 9   the SEC and declared effective in connection with offers and sales of the Company’s shares
10   pursuant and/or traceable to the Offering and relevant offering materials, including to Plaintiff
11   and the Class.
12                                         Substantive Allegations
13          91.       A number of the representations in the Registration Statement and Prospectus
14   used to effectuate Lyft’s IPO were materially misleading, omitted information necessary in order
15   to make the statements made therein not misleading, and omitted material facts required to be
16   stated therein. Specifically, the Registration Statement misled investors with respect to: (1) the
17   potential for severe reputational damage and legal liability due to rampant sexual assaults
18   committed by Lyft drivers; (2) the Company’s actual national market share; (3) the key metrics
19   used to measure the Company’s financial performance and growth were about to be abandoned;
20   (4) the Company was days away from closing the quarter with a massive loss; (5) safety issues
21   regarding the Company's bike sharing business jeopardized the Company’s growth plans; and (6)
22   labor conflicts with the Company’s drivers, all of which were known to, but concealed by,
23   Defendants at the time of the IPO.
24   The Registration Statement failed to disclose the potential for reputational damage and legal
25   liability posed by rampant sexual assault allegations.
26          92.       From its inception, Lyft cultivated an image of a Company built on trust, safety,
27   and a dedication to social responsibility – particularly in relation to women.
28


     AMENDED COMPLAINT                                20                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 21 of 64




 1          93.     On September 17, 2012, Lyft co-founder John Zimmer, when asked about Lyft’s
 2   signature mustache logo, explained the choice to use the color pink: “We originally thought of
 3   doing this just for women, as a safety kind of service and a very particular clientele. It’s partially
 4   because of that.”
 5          94.     Prior to the IPO, Lyft took steps to build its trust with women. For example, in
 6   February 2015, Lyft posted a blog announcing a new partnership with an anti-sexual assault
 7   initiative, It’s On Us, to encourage young, intoxicated women to use the rideshare service by
 8   offering free ride credits for new Lyft users during college spring break.
 9          95.     Although Lyft has seen substantial growth, the Company was, and still is, a
10   distant second place to Uber in the rideshare market. Lyft sought to capitalize on negative
11   reports of Uber’s “tech bro” culture and safety shortcomings, by setting itself apart as a safe and
12   socially conscious alternative. From 2016 to 2017, Lyft ran a commercial depicting three
13   executives of “Ride Corp” – a fictionalized version of Uber – watching footage of Lyft rides and
14   commenting that Lyft is “all over this safety thing: third-party background checks, for drivers,”
15   “24/7 trust and safety teams,” “critical response line…” The faux-Uber executives then ineptly
16   try to come up with an idea to make their service safe too. The advertisement closes with Lyft’s
17   logo, and beneath it: “SERIOUS ABOUT SAFETY”.
18          96.     In November 2016, Lyft’s blog published a post entitled “Get Home Safely with
19   Lyft,” encouraging young, intoxicated women to use its rideshare service by announcing it
20   would offer college students free rides so that students “don’t need to worry about finding a safe
21   ride after going out.”
22          97.     On September 4, 2017, Lyft partnered with the Buffalo-Niagara Brewer’s
23   Association in a promotion to offer ride credits to individuals who had been drinking in the
24   Buffalo, New York region. The promotional materials stated “Drink Local. Ride Lyft.”
25          98.     On September 10, 2017, Lyft partnered with Budweiser to provide 150,000 free
26   rides to individuals enjoying a night of drinking. Lyft’s vice president of marketing stated: “We
27   are thrilled to work with Budweiser, a brand that shares our commitment to helping people drink
28   responsibly and get home safe.”


     AMENDED COMPLAINT                                21                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 22 of 64




 1          99.       On January 10, 2018, Lyft partnered with a craft brewery to produce “Five Star
 2   Lager,” which featured Lyft’s logo on the can and a discount code for Lyft rides. The beer cans,
 3   promotional posters, and coasters featured “DRINK CRAFT. RIDE SAFE.”
 4          100.      From early 2019 until mid-March 2019, Lyft aired a commercial depicting a man
 5   using Lyft for a day. After drinking at a bar, the man gets into the backseat of a Lyft. A police
 6   officer approaches and asks: “You been doing some drinking, sir?” to which the man replies
 7   “Yep.” The officer says “alright” and walks away.
 8          101.      When Lyft issued its Registration Statement in connection with its IPO, the image
 9   Lyft had sought to build over the years featured prominently.
10          102.      The Registration Statement acknowledged the well-known fact that Lyft’s biggest
11   competitor was Uber. Although Uber enjoyed a much larger market share, the Registration
12   Statement repeatedly emphasized Lyft’s culture, values, and brand reputation as competitive
13   factors that set the Company apart from Uber.
14          103.      Under the subsection “Ability to Compete Effectively,” the Registration
15   Statement touted the competitive significance of its reputation:
16                 Although we face intense competition, our values, brand, innovation and
17                 focused execution have driven increased ridesharing market share in the
                   United States . . . . We believe we have differentiated our business from
18                 these competitors by building a multimodal TaaS network at scale while
                   upholding our culture and values and creating a brand that embodies a
19                 commitment to exceptional offerings and social responsibility, but we
20                 must continue to respond to competitive pressures.
            104.      The Registration Statement acknowledged the importance of Lyft’s reputation:
21
     “We believe that the principal competitive factors in our market include . . . brand; trust,
22
     safety, reliability and privacy”.
23
            105.      The Registration Statement elaborated in detail on the competitive factors that set
24
     Lyft apart:
25
26                 To advance our mission, we aim to build the defining brand of our
                   generation and to promote a company culture based on our unique values
27                 and commitment to social responsibility. . . . These values have given rise
                   to a unique company culture that fosters an amazing community of drivers,
28


     AMENDED COMPLAINT                                 22                 CASE NO. 4:19-CV-02690-HSG
               Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 23 of 64




                  riders and employees, and has helped establish Lyft as a widely-trusted and
 1                recognized brand. We believe many users are loyal to Lyft because of our
 2                values, brand and commitment to social responsibility.

 3             106.   The Registration Statement underscored the importance of Lyft’s reputation in

 4   relation to current trends, including a shift toward “Greater Affinity Towards Mission-Driven

 5   Brands”:

 6                Consumers, especially millennials, are gravitating towards brands that value
                  community engagement and embrace social and environmental
 7                responsibility. 88% of millennials expect companies to produce and
 8                communicate the results of corporate social responsibility efforts, and 89%
                  of consumers are likely to switch brands to one that is associated with a
 9                good cause, given similar price and quality.
10             107.   Lyft’s culture, values, and authenticity featured prominently in a section of the

11   Registration Statement titled “Why Lyft Wins”:

12                Culture and Values. Our core values are Be Yourself, Uplift Others and
                  Make it Happen. Our team members, who uphold our values and live our
13                mission every day, are at the forefront of cultivating and spreading this
14                culture across the drivers, riders and communities we serve. This continuous
                  interaction across the entire Lyft community creates a virtuous cycle which
15                further reinforces our culture and fuels our growth.
16                Authentic Brand. We believe that the authenticity of our culture and values
17                positions us to build the defining brand of our generation. Our brand
                  embodies a commitment to exceptional offerings and social responsibility.
18                We have built a brand that balances our mission-driven ethos with a
                  friendly, hospitality-oriented personality. The strength of our brand is a key
19                driver of our ability to attract and retain users and serves as a strategic
20                differentiator. We believe that affinity for our brand will continue to
                  strengthen as consumers increasingly gravitate towards brands that are
21                purpose-driven and emphasize corporate social responsibility.
22             108.   The Registration Statement also explained Lyft’s commitment to trust and safety:

23   “Safety is our top priority, and establishing a community built on trust and safety is

24   paramount to our success.”

25             109.   The Registration Statement further elaborated on Lyft’s commitment to trust and

26   safety:

27
28


     AMENDED COMPLAINT                                 23                  CASE NO. 4:19-CV-02690-HSG
          Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 24 of 64




             Our Commitment to Trust & Safety
 1
 2           A strong guiding principle since day one has been to build a community that
             drivers and riders trust. Trust is the foundation of our relationship with
 3           drivers and riders on our platform, and we take significant measures every
             day that are focused on their safety. This dedication led our customer
 4           support to be recently named number one in Newsweek’s 2019 America’s
 5           Best Customer Service rankings for the Taxi and Peer-to-Peer Ridesharing
             category.
 6
             To ensure we are delivering exceptional service levels and upholding high
 7           quality standards, we have established our Customer Experience and Trust,
             or CET, team as a key part of our organization. With over 700 employees
 8           as of December 31, 2018, CET is in charge of fielding customer support
 9           inquiries and is available through multiple channels, including via self-
             service and assisted support directly within our apps. Our CET team focuses
10           on driving results based on experience-based metrics including First
             Contact Resolution, which is the number of customer support tickets
11           resolved during the first contact with a driver or rider, and Net Promoter
12           Score. CET aims to eliminate bad customer experiences, quickly resolve
             problems when they occur and maintain trust with drivers and riders. We
13           also use third parties to help Lyft deliver best-in-class support.
14           The ways we promote safety include:
15           Critical Response Line. Our Trust & Safety team, consisting of 298
16           employees as of December 31, 2018, is a team of specialists within CET
             that handle sensitive issues regarding behavior or safety incidents on our
17           platform. Available 24/7, they work with many teams on highly visible
             cases to provide a high quality of care.
18
             Driving Record and Background Checks. Every driver is screened before
19
             they are permitted to drive on our platform, starting with professional third-
20           party background and driving record checks. To promote a consistently
             high-quality experience, we ensure vehicles meet our criteria for vehicle age
21           before drivers are accepted to drive these vehicles on our platform.
22           Two-Way Ratings. Our two-way ratings system helps promote the safety
23           and comfort of the Lyft community by offering a channel for drivers and
             riders to provide instant feedback on their Lyft experiences. At the end of
24           each ride, drivers and riders are prompted to rate each other on a scale of 1-
             5 stars. Our ratings system allows drivers and riders to provide anonymous
25           feedback. We take rider ratings and driver feedback very seriously. If a user
26           is rated three stars or below, we take immediate action to understand and
             remediate the situation.
27
             Zero-Tolerance Policy. Lyft maintains a zero-tolerance drug and alcohol
28           policy for drivers on our platform. We also do not allow riders to have open


     AMENDED COMPLAINT                            24                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 25 of 64




                alcohol containers in-ride and can deactivate riders from the platform for
 1              violating this policy.
 2          110.      The statements in paragraphs 103-09 were materially misleading, omitted
 3   information necessary in order to make the statements not misleading, and omitted material facts
 4   required to be stated therein because they failed to disclose that: (i) the Company faced serious
 5   reputational damage and legal liability from pervasive incidents of assault, both physical and
 6   sexual, perpetrated by Lyft drivers prior to the IPO; and (ii) the Company’s safety and response
 7   policies were wholly inadequate.
 8          111.      The examples below—most of which were not publicly known until after the
 9   IPO—illustrate just how pervasive Lyft’s sexual assault and safety problems were prior to the
10   IPO:
11             DATE                                        INCIDENT

12
             1/28/15        Yiqing Chen is taken by her Lyft driver to Baldwin Park, California rather
13                          than her intended destination and there is sexually assaulted by her driver.
                            Chen files suit against Lyft in January 2017.
14
15           5/26/15        A woman, identified as Alyssa Doe in her complaint, is raped by her Lyft
                            driver. The woman files suit in May 2018.
16
             5/30/15        A Lyft driver in Seattle, Washington demands sex from a passenger then
17                          drags her behind his car when she tries to retrieve her phone from him. Law
                            enforcement investigates and Lyft deactivates the driver.
18
             9/5/15         A woman is followed into her home by her Lyft driver, who groped her and
19                          requested she perform a sex act. The Chula Vista, California police
20                          department began a criminal investigation with Lyft’s cooperation. The
                            victim files suit against Lyft in October 2015.
21
             1/27/16        A woman files suit seeking damages from Lyft for a sexual assault
22                          perpetrated by her Lyft driver. The driver is also charged with misdemeanor
                            battery for groping her.
23
             3/11/16        Lyft and Uber driver Dereje Y. Kebede is charged with attempting to rape
24
                            a woman in Seattle, Washington in March 2015 while driving under the
25                          Uber platform.

26           4/30/16        Candie Fernandez is sexually assaulted by her Lyft driver after falling
                            asleep in his vehicle in or near North Hollywood, California. Fernandez
27                          files suit against Lyft in May 2018.
28


     AMENDED COMPLAINT                                25                 CASE NO. 4:19-CV-02690-HSG
          Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 26 of 64




           June 2016   An unnamed woman is sexually assaulted and threatened by her Lyft driver
 1
                       in Chicago, Illinois. The incident is reported, and later referenced in a July
 2                     2018 complaint filed against Lyft in a separate assault case.

 3         9/22/16     The Associated Press reports that Lyft driver Jeremy Vague has been
                       arrested for sexually assaulting multiple women while driving for both Lyft
 4                     and Uber in Southern California.
 5         10/8/16     An unnamed woman is raped by her Lyft driver while unconscious in San
 6                     Diego, California. Two of her friends walk in on, witness, and stop the rape.
                       The woman “immediately” reports the incident to police. Lyft is also
 7                     notified. The woman files suit in August 2019.
 8         12/9/16     An unnamed woman is raped by her Lyft driver in San Diego, California.
                       The woman reports the assault to law enforcement and to Lyft. Lyft
 9                     evidently allows the driver to continue driving for Lyft. The woman files
10                     suit in August 2017.

11         3/20/17     Lyft driver Samy-William Ibrahim sexually assaults his developmentally
                       delayed passenger in Woodinville, Washington. Ibrahim is arrested and
12                     charged. Lyft issues a statement and deactivates Ibrahim.
13         4/23/17     A woman identified as Gillian C has a sexual encounter with a Lyft driver
                       that quickly devolves into the driver performing a sex act on her without
14                     her consent. The woman reports the incident to law enforcement. She files
15                     suit in April 2019.

16         5/21/17     An unnamed woman is raped by her Lyft driver in Detroit, Michigan. The
                       woman files suit in August 2019.
17
           6/10/17     Morgan Lee is sexually assaulted by her Lyft driver in San Antonio, Texas.
18                     Lee reports the incident to police. Lee files suit against Lyft later in June
                       2017.
19
20         6/18/17     India Matheson is assaulted by her Lyft driver. She reports the incident to
                       Lyft and to law enforcement. The incident was captured on her video
21                     doorbell. The driver is “charged with assault with sexual motivation in
                       September 2018” and subsequently convicted. Matheson files suit in
22                     August 2019.
23         6/21/17     Lyft driver Francisco Arias is arraigned on charges that he offered a minor
24                     girl rides and money in exchange for sex in Allentown, Pennsylvania.

25         7/2/17      Sarah A. Johnson is sexually assaulted by her Lyft driver in the back seat
                       of his vehicle in Santa Monica, California. Johnson reports the incident to
26                     law enforcement and to Lyft. Johnson files suit in December 2017.
27         7/4/17      Stephanie Nan is sexually assaulted by her Lyft driver in Brooklyn, New
                       York. Nan reported the incident to police. Nan filed suit in August 2019.
28


     AMENDED COMPLAINT                           26                  CASE NO. 4:19-CV-02690-HSG
          Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 27 of 64




           7/7/17      An unnamed woman is kidnapped, bound by zip ties, and raped by her Lyft
 1                     driver in Chicago, Illinois. The woman reports the assault to law
 2                     enforcement, who reported the assault to Lyft on July 8, 2017. Lyft
                       deactivated the woman’s account, denying her access to information in the
 3                     app on her driver. The driver is criminally charged in connection with the
                       incident, as well as for a second rape perpetrated against another victim.
 4
                       The driver’s criminal history contains charges that should have made him
 5                     ineligible to drive for Lyft, according to Lyft’s own policies. The woman
                       files suit in December 2019.
 6
           7/14/17     Jennifer Hardin is sexually assaulted by her Lyft driver in the Washington,
 7
                       D.C. area. Hardin files suit in August 2019.
 8
           7/17/17     Danielle Lodge is sexually assaulted by her Lyft driver in Los Angeles,
 9                     California. Lodge files suit in July 2018.
10
           Fall 2017   Alison Turkos is kidnapped at gunpoint, taken across state lines, and raped
11                     by her driver and another man. Turkos reports a “kidnapping” to Lyft. Lyft
                       apologizes for the “inconvenience” of the route variance, then charges
12                     Turkos for the original route her driver was supposed to take her on. The
                       driver continues for some time to drive for Lyft under a new name and
13
                       account. NYPD confirms presence of semen on Turkos’s clothing and later
14                     subpoenas Lyft as part of its investigation. The NYPD investigation has
                       since been transferred to the FBI. Turkos files suit in September, 2019.
15
16         9/16/17     A Lyft driver rapes his passenger in Indianapolis, Indiana. The victim
                       manages to record some of the assault on her cell phone. The driver is
17                     arrested and charged with sexual battery and rape later that month. Lyft
                       issues a statement about the incident and deactivates the driver.
18
19         9/20/17     Police in Boston and Cambridge, Massachusetts open an investigation after
                       a woman reports being sexually assaulted by her Lyft driver.
20
           October     An unnamed 16-year-old boy is sexually assaulted by his Lyft driver in
21         2017        Davie, Florida. The incident is reported and later referenced in a July 2018
22                     complaint against Lyft in a separate assault case.

23         10/25/17    A Chicago news outlet discovers that a former al-Qaeda operative was
                       driving for Lyft. Lyft’s background screening service apparently failed to
24                     discover the man’s aiding terrorism conviction or failed to screen him out
25                     as a result of it. Lyft deactivates the driver.

26         1/3/18      An unnamed, blind woman is assaulted by her Lyft driver in Tuscaloosa,
                       Alabama. The woman reports the incident to Lyft and to law enforcement.
27                     She joins a lawsuit in September 2019.
28


     AMENDED COMPLAINT                           27                 CASE NO. 4:19-CV-02690-HSG
          Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 28 of 64




           1/11/18    Kentrell Holmes, a gay man, is physically, though not sexually, assaulted
 1                    by his Lyft driver while the driver yells homophobic slurs. Holmes files suit
 2                    in December 2019.

 3         2/3/18     An unnamed woman is assaulted by her Lyft driver in Wilmington, North
                      Carolina. The woman reports the incident to Lyft. The woman joins a
 4
                      lawsuit in September 2019.
 5
           2/4/18     Feda Marzouk is “badly beaten” by her Lyft driver in Cleveland, Ohio after
 6                    she refuses his sexual advances. Marzouk calls 911 and is transported to a
                      hospital for treatment. Marzouk files suit against Lyft in November 2018.
 7
 8         2/14/18    Elizabeth Rahh is physically, though not sexually, attacked by her Lyft
                      driver. Rahh files suit in February 2020.
 9
           3/4/18     An unnamed woman is assaulted by her Lyft driver in Marlborough,
10
                      Massachusetts. The woman reports the incident to law enforcement, who
11                    subsequently report it to Lyft. The driver is charged with rape.

12         4/8/18     An unnamed woman is sexually assaulted while unconscious by her Lyft
                      driver in Oakland, California. The incident is reported and later referenced
13
                      in a July 2018 complaint against Lyft in a separate assault case. The driver
14                    is arrested in May 2018.

15         May 2018   An unnamed minor is sexually assaulted by her Lyft driver in Ontario,
                      Canada. The assault is reported, and later referenced in a July 2018
16
                      complaint filed against Lyft in a separate assault case.
17
           May 2018   An unnamed woman is assaulted by her Lyft driver in Waterford Township,
18                    Michigan after she refuses his offer to pay her for sex. The assault is
19                    reported, and later referenced in a July 2018 complaint filed against Lyft in
                      a separate assault case.
20
           5/6/18     An unnamed woman is sexually assaulted by a Lyft driver in Cypress,
21                    California. She reports the attack to law enforcement and to Lyft. She joins
22                    a lawsuit in September 2019.

23         5/8/18     Mary Espinosa is sexually assaulted by her Lyft driver. Espinosa files suit
                      in August 2019.
24
25         5/15/18    An unnamed woman is assaulted by her Lyft driver in Jacksonville, North
                      Carolina. The woman “immediately” reports the incident to Lyft. She joins
26                    a lawsuit in September 2019.
27         6/7/18     An unnamed woman is assaulted by her Lyft driver in Travis County,
28                    Texas. The driver had a history of sexually assaulting passengers going


     AMENDED COMPLAINT                          28                  CASE NO. 4:19-CV-02690-HSG
          Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 29 of 64




                     back to 2013. Lyft issues a public statement regarding the woman’s assault
 1                   and the assaults of the other passengers. The woman files suit in September
 2                   2019.

 3         6/30/18   A Lyft driver stabs a passenger in the chest after an argument in San Diego,
                     California. The driver is arrested. Lyft deactivates the driver.
 4
 5         7/7/18    An unnamed woman is raped by her Lyft driver in Tacoma, Washington.
                     The woman reports the assault to Lyft and to law enforcement. She files
 6                   suit in August 2019.
 7
           7/17/18   Orlando Vilchez Lazo is arraigned on four counts of rape in San Francisco,
 8                   California. Lazo was a Lyft driver who used Lyft branding to lure his
                     victims into his vehicle. In a statement, Lyft says it deactivated Lazo once
 9                   it became aware of the allegations.
10
           7/23/18   The Washington Post reports that a woman was raped by her Lyft driver in
11                   Gainesville, Virginia. The driver is arrested.

12         7/24/18   An unnamed woman is sexually assaulted by her Lyft driver in San
                     Francisco, California. The woman “immediately” reported the incident to
13
                     police, as well as to Lyft via an “email form.” The woman files suit in
14                   September 2019.

15         8/3/18    An unnamed woman is raped by her Lyft driver in Los Angeles. She
                     “immediately” reports the assault to the police, who in turn contacted Lyft.
16
                     The woman filed suit in June 2019.
17
           8/5/18    Amber Wilson is sexually assaulted by her Lyft driver after the driver
18                   returned to her home after dropping her off and broke in. Wilson filed suit
19                   in September 2019.

20         8/17/18   Jill Berquist is sexually assaulted by her Lyft driver. Berquist reports the
                     incident to Lyft. The Lyft representative Berquist speaks with convinces
21                   her not to file a police report “by telling [her] that LYFT would file a police
22                   report.” Lyft never files a police report. Berquist files suit in August 2019.

23         10/1/18   An unnamed minor and her sister take a Lyft home from Six Flags Magic
                     Mountain. The young girls’ driver refuses to let the girls out of the car,
24                   instead forcing them to remove clothing. The girls file suit in November
25                   2019.

26         10/5/18   Marianne Ditrani is kidnapped and physically and verbally assaulted by her
                     Lyft driver in Hollywood, California. Ditrani reports the incident to Lyft.
27                   Ditrani files suit in September 2019.
28


     AMENDED COMPLAINT                          29                  CASE NO. 4:19-CV-02690-HSG
            Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 30 of 64




             10/12/18     Farheen Hashem is assaulted by her Lyft driver in Sun Valley, California.
 1                        Hashem files suit in September 2019.
 2
             10/28/18     An unnamed woman is assaulted by her Lyft driver in Los Angeles. The
 3                        woman reports the incident to law enforcement, who in turn report the
                          incident to Lyft. She joins a lawsuit against Lyft in September 2019.
 4
 5           11/25/18     An unnamed woman is assaulted by her Lyft driver in San Francisco,
                          California. The woman and her friend – who was also in the vehicle at the
 6                        time and video-recorded the driver’s apology for the assault – report the
                          incident to law enforcement. The driver pleads no contest to sexual battery.
 7
                          Lyft refunds the woman for the ride. The woman joins a lawsuit in
 8                        September 2019.

 9           12/4/18      Michelle Christensen is sexually assaulted by her Lyft driver in Oakland,
                          California. She files suit in September 2019.
10
11           12/7/18      An unnamed woman is assaulted by her Lyft driver in Salt Lake City, Utah.
                          The woman reports the incident to Lyft and to law enforcement. The driver
12                        is charged and later convicted of misdemeanor battery. The woman joined
                          a lawsuit in September 2019.
13
14           12/30/18     An unnamed woman is assaulted by her Lyft driver in West Hollywood,
                          California. The woman reports the incident to Lyft, who assures her it will
15                        “make sure [she] never gets paired with the driver again”. She joins a
                          lawsuit in September 2019.
16
17           1/23/19      An unnamed woman is raped by her Lyft driver. The woman reports the
                          incident to Lyft and to police. The driver was charged with second-degree
18                        rape and kidnapping. The woman files suit against Lyft in August 2019.
19
             3/14/19      An unnamed woman is assaulted by her Lyft driver in Charleston, South
20                        Carolina. The woman reports the incident to Lyft, then later to law
                          enforcement. She joins a lawsuit in September 2019.
21
22           3/19/19      Margarita Bicana is falsely imprisoned by her Lyft driver. She reported the
                          incident to Lyft and was informed that two others had also lodged
23                        complaints against the driver. Bicana filed suit in August 2019.
24          112.    The examples above are by no means exhaustive. Subsequent to the IPO, news

25   articles and class action complaints revealed that Lyft had a pervasive problem with sexual

26   assaults committed by its drivers dating back several years and continuing in the months

27   immediately preceding the IPO. Lyft avoided taking the necessary steps to curb the sexual

28   assault problem, such as imposing strict behavioral rules and requiring in-depth sexual


     AMENDED COMPLAINT                              30                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 31 of 64




 1   harassment training, out of fear that doing so would result in its drivers being classified as
 2   “employees” rather than contractors, which would trigger certain legal and financial obligations.
 3   Additionally, at the time of the IPO, Lyft lacked basic safety features such as a “panic button.”
 4   Lyft also lacked a “continuous background check” policy to screen out problematic drivers, a
 5   policy Uber had instituted in 2018.
 6          113.     Despite the disturbing and pervasive issues that existed at the time of the IPO,
 7   Lyft failed to disclose them. Instead, Lyft offered a list of general “Risk Factors” that described
 8   risks in hypothetical terms rather than concealed realities. For example, the Registration
 9   Statement warned that “Our reputation, brand and the network effects of the drivers and riders on
10   our platform are important to our success, and if we are not able to continue developing our
11   reputation, brand and network effects, our business, financial condition and results of operations
12   could be adversely affected.” Under this “Risk Factor” the Registration Statement provided:
13              We believe that building a strong reputation and brand as a safe, reliable
14              and affordable platform and continuing to increase the strength of the
                network effects among the drivers and riders on our platform are critical to
15              our ability to attract and retain qualified drivers and riders. The successful
                development of our reputation, brand and network effects will depend on a
16              number of factors, many of which are outside our control. Negative
17              perception of our platform or company may harm our reputation, brand and
                networks effects, including as a result of:
18
                    •   complaints or negative publicity about us, drivers on our platform,
19                      riders, our offerings or our policies and guidelines, even if factually
                        incorrect or based on isolated incidents;
20
21                                                  ***

22                  •   a failure to operate our business in a way that is consistent with our
                        values and mission;
23
                    •   inadequate or unsatisfactory user support service experiences;
24
                illegal or otherwise inappropriate behavior by our management team or
25
                other employees or contractors;
26
27
28


     AMENDED COMPLAINT                                31                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 32 of 64




 1          114.    The Registration Statement also warned of the hypothetical risk if the Company
 2   failed to maintain its “company culture”:
 3              Our company culture has contributed to our success and if we cannot
 4              maintain this culture as we grow, our business could be harmed.

 5              We believe that our company culture, which promotes authenticity,
                empathy and support for others, has been critical to our success. We face a
 6              number of challenges that may affect our ability to sustain our corporate
                culture, including:
 7
                                                    ***
 8
 9              If we are not able to maintain our culture, our business, financial condition
                and results of operation could be adversely affected.
10
            115.    The Registration Statement also couched its warning of potential liability in
11
     hypothetical terms that concealed the true risk facing the Company:
12
                We could be subject to claims from riders, drivers or third parties that are
13              harmed whether or not our platform is in use, which could adversely
                affect our business, brand, financial condition and results of operations.
14
15              We are regularly subject to claims, lawsuits, investigations and other legal
                proceedings relating to injuries to, or deaths of, riders, drivers or third
16              parties that are attributed to us through our offerings. We may also be
                subject to claims alleging that we are directly or vicariously liable for the
17              acts of the drivers on our platform. We may be subject to personal injury
18              claims whether or not such injury actually occurred as a result of activity on
                our platform. For example, third parties have in the past asserted legal
19              claims against us in connection with personal injuries related to the actions
                of a driver or rider who may have previously utilized our platform, but was
20              not at the time of such injury. We have incurred expenses to settle personal
21              injury claims, which we sometimes choose to settle for reasons including
                expediency, protection of our reputation and to prevent the uncertainty of
22              litigating, and we expect that such expenses will continue to increase as our
                business grows and we face increasing public scrutiny.
23
            116.    The “Risk Factors” provided in the Registration Statement were materially
24
     misleading, omitted to state other facts necessary to make the statements made not misleading,
25
     and omitted material facts required to be stated therein because they described the risks as
26
     hypothetical possibilities, despite the fact that the warned of risks had already occurred and
27
     continued to occur.
28


     AMENDED COMPLAINT                               32                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 33 of 64




 1          117.    Even more egregious is that the “Risk Factors” make no mention of sexual assault
 2   at all. Despite going into extensive detail on other matters, including a consumer class action
 3   litigation from 2014, and employee classification lawsuits from 2013, the closest Lyft comes to
 4   disclosing incidents of sexual assault or related litigation is in its discussion of “Personal Injury
 5   Matters.” There, the Registration Statement vaguely states that the Company has been “named as
 6   a defendant in a number of matters related to accidents or other incidents involving drivers on
 7   our platform.” Given the severe risk of brand damage that could arise from sexual assault
 8   allegations, Lyft’s failure to mention anything related to the issue is glaring.
 9          118.    Lyft’s omissions are even more shocking when compared to those of its main
10   competitor, Uber, which went public shortly after Lyft. In its registration statement, Uber
11   disclosed the following concerning sexual assault:
12              Maintaining and enhancing our brand and reputation is critical to our
13              business prospects. We have previously received significant media
                coverage and negative publicity, particularly in 2017, regarding our
14              brand and reputation, and failure to rehabilitate our brand and reputation
                will cause our business to suffer.
15
                Maintaining and enhancing our brand and reputation is critical to our ability
16              to attract new employees and platform users, to preserve and deepen the
17              engagement of our existing employees and platform users, and to mitigate
                legislative or regulatory scrutiny, litigation, government investigations, and
18              adverse platform user sentiment.
19              We have previously received a high degree of negative media coverage
                around the world, which has adversely affected our brand and reputation
20
                and fueled distrust of our company. In 2017, the #DeleteUber campaign
21              prompted hundreds of thousands of consumers to stop using our platform
                within days. Subsequently, our reputation was further harmed when an
22              employee published a blog post alleging, among other things, that we had a
23              toxic culture and that certain sexual harassment and discriminatory
                practices occurred in our workplace. Shortly thereafter, we had a number of
24              highly publicized events and allegations, including investigations related to
                a software tool allegedly designed to evade and deceive authorities, a high-
25              profile lawsuit filed against us by Waymo, and our disclosure of a data
26              security breach. These events and the public response to such events, as well
                as other negative publicity we have faced in recent years, have adversely
27              affected our brand and reputation, which makes it difficult for us to attract
                and retain platform users, reduces confidence in and use of our products and
28              offerings, invites legislative and regulatory scrutiny, and results in litigation


     AMENDED COMPLAINT                                 33                  CASE NO. 4:19-CV-02690-HSG
          Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 34 of 64




             and governmental investigations. Concurrently with and after these events,
 1           our competitors raised additional capital, increased their investments in
 2           certain markets, and improved their category positions and market shares,
             and may continue to do so.
 3
             In 2019, we plan to release a transparency report, which will provide the
 4           public with data related to reports of sexual assaults and other safety
 5           incidents claimed to have occurred on our platform in the United States. The
             public responses to this transparency report or similar public reporting of
 6           safety incidents claimed to have occurred on our platform, which may
             include disclosure of reports provided to regulators, may result in negative
 7           media coverage and increased regulatory scrutiny and could adversely
 8           affect our reputation with platform users. Further unfavorable media
             coverage and negative publicity could adversely impact our financial results
 9           and future prospects. As our platform continues to scale and becomes
             increasingly interconnected, resulting in increased media coverage and
10           public awareness of our brand, future damage to our brand and reputation
11           could have an amplified effect on our various platform offerings.
             Additionally, following the closing of our acquisition of Careem, the
12           Careem brand and its apps will continue to operate in parallel with our brand
             and apps, and any damage or reputational harm to the Careem brand could
13           adversely impact our brand and reputation.
14
             Our brand and reputation might also be harmed by events outside of our
15           control. For example, we faced negative press related to suicides of taxi
             drivers in New York City reportedly related to the impact of ridesharing on
16           the taxi cab industry. In addition, we have licensed our brand to Didi in
             China and to our Yandex. Taxi joint venture in Russia/CIS, and while we
17
             have certain contractual protections in place governing the use of our brand
18           by these companies, we do not control these businesses, we are not able to
             anticipate their actions, and consumers may not be aware that these service
19           providers are not controlled by us. Furthermore, if Drivers, restaurants, or
             carriers provide diminished quality of service, are involved in incidents
20
             regarding safety or privacy, engage in malfeasance, or otherwise violate the
21           law, we may receive unfavorable press coverage and our reputation and
             business may be harmed. As a result, any of these third parties could take
22           actions that result in harm to our brand, reputation, and consequently our
             business.
23
24           While we have taken significant steps to rehabilitate our brand and
             reputation, the successful rehabilitation of our brand will depend largely on
25           maintaining a good reputation, minimizing the number of safety incidents,
             improving our culture and workplace practices, improving our compliance
26           programs, maintaining a high quality of service and ethical behavior, and
27           continuing our marketing and public relations efforts. Our brand promotion,
             reputation building, and media strategies have involved significant costs
28           and may not be successful. We anticipate that other competitors and


     AMENDED COMPLAINT                            34                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 35 of 64




                potential competitors will expand their offerings, which will make
 1              maintaining and enhancing our reputation and brand increasingly more
 2              difficult and expensive. If we fail to successfully rehabilitate our brand in
                the current or future competitive environment or if events similar to those
 3              that occurred in 2017 occur in the future, our brand and reputation would
                be further damaged and our business may suffer.
 4
            119.    Almost immediately after the Offering, Lyft’s failure to prevent sexual assaults
 5
     and ensure the safety of its riders garnered widespread attention.
 6
            120.     On April 7, 2019, Anna Gilchrist shared her story of sexual harassment by a Lyft
 7
     driver and the Company’s response on Twitter. Gilchrist explained how her driver repeatedly
 8
     asked if she had a boyfriend and whether or not he was home. When she reported the incident to
 9
     Lyft, the Company told her “we’ll make sure that that driver is not able to pick you up again.”
10
     Gilchrist informed Lyft that this response was inadequate and that the driver was a threat to
11
     others. Lyft stated that the driver would be reprimanded and offered Gilchrist a $5 coupon. The
12
     story went viral on Twitter. On April 9, 2019, the San Francisco Chronical published a story on
13
     Gilchrist’s experience and other safety issues at Lyft. Lyft’s stock price fell more than 20%
14
     between April 8 and April 10, 2019.
15
            121.    Since then, Lyft has faced an avalanche of complaints and negative press about
16
     sexual assaults committed by Lyft drivers and the Company’s responses.
17
            122.    On April 22, 2019, a Lyft driver was charged for a rape that occurred in March
18
     2019. The driver reportedly handcuffed and groped a passenger in January 2019 and was under
19
     suspicion for committing five other sexual assaults since 2014 while driving for Lyft and Uber.
20
            123.    On August 1, 2019, seven women filed sexual assault lawsuits against Lyft,
21
     alleging they were raped or assaulted by Lyft drivers and that Lyft charged fees for the rides
22
     even after the victims reported the assaults to the Company.
23
            124.    On August 2, 2019, the Washington Post published a story describing how “Lyft
24
     markets itself as a safe, progressive alternative” to its competitors and how Lyft “has risen to
25
     prominence – including raising billions of dollars by going public this year – in large part by
26
     touting a ‘woke’ image . . . [that] draw[s] a contrast with rival Uber, which lost waves of
27
28


     AMENDED COMPLAINT                                35                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 36 of 64




 1   customers after accusations of fostering a ‘tech bro’ culture that enabled misconduct,” while in
 2   fact Lyft has a serious sexual misconduct problem and has been dismissive of customers’ reports.
 3          125.    On August 21, 2019, Vice News reported on the “flood[]” of sexual assault
 4   litigation against Lyft and noted that “[s]ome advocates have noted that Lyft’s app, which
 5   requires users [to] navigate a labyrinthine process to file a complaint, is far less user-friendly
 6   than Uber’s, which requires a single click.”
 7          126.    On September 4, 2019, 14 women sued Lyft for its handling of their sexual
 8   assault, sexual misconduct, and rape complaints. The victims alleged that Lyft “stone-wall[ed]”
 9   law enforcement, failed to screen drivers, and downplayed the prevalence of sexual predators on
10   Lyft’s platform. The suit also alleged that “many of the assault victims have been told by
11   detectives handling their case that Lyft’s Trust and Safety team are often unresponsive to the
12   detectives’ requests.”
13          127.    On September 17, 2019, five women filed lawsuits alleging sexual assault by Lyft
14   drivers and that the Company’s background checks are inadequate.
15          128.    On December 5, 2019, Uber released a “safety review” for 2017 and 2018,
16   revealing that the company received “5,981 allegations of serious sexual assault in the U.S.”
17   approximately 3,349 of which involved accusations by passengers against drivers. The data also
18   showed an increasing trend of assaults from 2017 to 2018. Uber committed to producing this
19   safety report in May of 2018, after the company announced that it would no longer require
20   forced arbitration for sexual assault claims. Despite claiming to be ahead of Uber when it comes
21   to social issues and brand reputation, it was Lyft that followed Uber’s lead and announced that it
22   too would end forced arbitration for sexual assault claims on May 15, 2018. Lyft also announced
23   that like Uber, it would release a “safety report.” Lyft has yet to do so.
24          129.    It is fair to infer that Lyft’s sexual assault figures are similar, if not worse, than
25   the jaw-dropping statistics released by Uber. Three-quarters of Lyft drivers also drive for Uber,
26   and lawyers litigating sexual assault cases against Lyft and Uber reported seeing a
27   disproportionate number of cases against Lyft. Additionally, an April 30, 2018 CNN report on
28   sexual assault allegations against Uber and Lyft drivers highlighted difficulties in gathering


     AMENDED COMPLAINT                                 36                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 37 of 64




 1   information because “there is no publicly available data for the number of sexual assaults” by
 2   rideshare drivers. Indeed, a class action complaint filed against Lyft in September 2019 alleges
 3   that despite the “knowledge that adopting a policy of mandatory reporting [of rape and sexual
 4   assault] will help prevent future assaults and increase passenger safety,” Lyft does not report
 5   such allegations to the police. Plus, on June 1, 2018, CNN reported that the third-party
 6   background company, Checkr, used by Lyft and Uber, allowed thousands of individuals to drive
 7   for the companies who should have been disqualified due to their criminal records. The story
 8   also revealed that in 2014, Lyft settled a lawsuit brought by the District Attorneys of San
 9   Francisco and Los Angeles alleging that the Company misled its customers “about the quality of
10   [its] background checks.”
11          130.    On January 6, 2020, USA Today published a story describing a lawsuit alleging
12   sexual misconduct filed by 19 women against Lyft in December 2018. The article noted that this
13   and other “lawsuits are chipping away at the image of corporate responsibility that Lyft carefully
14   cultivated as its larger rival, Uber, slogged through scandals in recent years.” The article also
15   stated that “Some attorneys who represent survivors of sexual assaults that happened in both Lyft
16   and Uber vehicles suspect safety problems at Lyft may be worse than at Uber, based on the
17   number of cases they have, the companies’ relative size and the severity of the incidents.”
18          131.    Prior to the IPO, Lyft saw an increase in the number of sexual assaults its drivers
19   committed yet it failed to reveal, or acknowledge, these facts or this issue. The Registration
20   Statement’s “Risk Factors” were materially misleading and omitted information necessary in
21   order to make the statements made not misleading by failing to reveal that sexual assault
22   allegations against Lyft drivers were increasing and could have a negative effect on its business.
23   The Registration Statement fails to even mention sexual assault at all, and where risks
24   concerning reputational harm and legal liability are discussed, those risks are described in
25   hypothetical terms despite the fact that a significant number of sexual assault claims by Lyft
26   drivers were brought to Lyft’s attention before the IPO.
27          132.    In addition to being untrue and misleading because of affirmative untrue
28   statements and omissions, Lyft’s Registration Statement also failed to comply with SEC


     AMENDED COMPLAINT                                37                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 38 of 64




 1   Regulation S-K, 17 C.F.R. § 229.303 (“Item 303”). Item 303 required Lyft to “[d]escribe any
 2   known trends or uncertainties that have had or that the registrant reasonably expects will have a
 3   material favorable or unfavorable impact on net sales or revenues or income from continuing
 4   operations.”
 5          133.    Lyft violated Item 303 by failing to disclose the risk of litigation and reputational
 6   damage related to sexual assault. Sexual assault complaints against Lyft drivers were abundant
 7   and increasing. Many of the victims filed litigation against Lyft prior to the IPO, and there was,
 8   at least, uncertainty that more litigation would follow. Lyft portrayed itself as the safer
 9   alternative to its larger competitor, Uber, and relied heavily on this reputation in its marketing
10   and in selling its common stock to the public. Therefore, the fact that Lyft was facing an
11   increasing number of serious assault allegations was a material trend existing at the time of the
12   IPO. Because Lyft relied so heavily on its reputation, the sexual assault allegations would have
13   been reasonably likely to hurt Lyft’s brand and, by extension, its revenue; this is true regardless
14   of whether the sexual assaults resulted in litigation.
15          134.    Lyft’s Registration Statement also failed to comply with 17 C.F.R. § 229.105
16   (“Item 105”). Item 105 imposes an independent duty to disclose the “most significant factors”
17   making an offering “speculative or risky.” Given Lyft’s carefully curated reputation as a safe,
18   trustworthy, and socially conscious brand, the pervasive sexual assault of its riders posed one of
19   the most significant risks to Lyft’s business.
20          135.    The after-the-fact developments described in paragraphs 120-30 were exactly the
21   kind of trends and significant risks that Lyft knew about but failed to disclose, despite its
22   obligation to do so.
23   The Registration Statement overstated Lyft’s market share.
24          136.    The Registration Statement made the following representations concerning Lyft's
25   business and market share:
26              Our values, brand, innovation and focused execution have driven significant
27              growth in market share and in the number of users on our platform. As
                ridesharing becomes more mainstream, we believe that users are
28              increasingly choosing a ridesharing platform based on brand affinity and


     AMENDED COMPLAINT                                 38                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 39 of 64




                value alignment. Our U.S. ridesharing market share was 39% in December
 1              2018, up from 22% in December 2016. This growth comes from both new
 2              drivers and riders as well as increased ride frequency. For the quarter ended
                December 31, 2018, we had 8.6 million Active Riders and over 1.1 million
 3              drivers who provided rides.1
 4              Our revenue was $343.3 million, $1.1 billion and $2.2 billion in 2016, 2017
 5              and 2018, respectively, representing year-over-year growth of 209% from
                2016 to 2017 and 103% from 2017 to 2018.
 6
            137.    The Registration Statement reaffirmed these representations by making the
 7
     following statements concerning Lyft’s business and market share:
 8
                We operate in a competitive market and must continue to compete
 9              effectively in order to grow, improve our results of operations and achieve
                and maintain long-term profitability. We are one of the largest and fastest
10              growing multimodal transportation networks in the United States and
11              Canada. Our main ridesharing competitors in the United States and Canada
                include Uber, Gett (Juno) and Via. Our main competitors in the bike and
12              scooter sharing market include Uber (Jump), Lime and Bird. We also
                compete with taxi cab and livery companies, traditional automotive
13              manufacturers and developers of autonomous vehicle technology that may
14              compete with us in the future, including Alphabet (Waymo). Although we
                face intense competition, our values, brand, innovation and focused
15              execution have driven increased ridesharing market share in the United
                States, growing from 22% in December 2016 to 39% in December 2018.
16
            138.    The Registration Statement’s market share claims were substantially overstated.
17
     The overstated figures were materially misleading in that they portrayed Lyft as more
18
     competitive than it actually was.
19
            139.    Indeed, in the immediate wake of the IPO, investors raised concerns that Lyft’s
20
     reported market share of 39% may have been overstated. While the market share figures
21
     contained in the Registration Statement came from Slice Technologies, Inc., an entity affiliated
22
     with Rakuten, Lyft’s largest investor, a more reliable market share analysis from data company
23
     Second Measure, an independent credit-card based source that analyzes purchases from millions
24
25
26   1
       According to the Registration Statement, “Active Riders” is defined as “all riders who take at
27   least one ride on [Lyft’s] multimodal platform through the Lyft app during a quarter.” Importantly,
     for Lyft’s “acquired businesses, including Motivate, only riders that have taken a ride or rented a
28   bike or scooter through [the] Lyft app during the quarter will count as an Active Rider.”

     AMENDED COMPLAINT                               39                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 40 of 64




 1   of anonymized U.S. shoppers put Lyft’s market share at closer to 28% in the U.S., compared to
 2   69% for Uber.
 3          140.     On April 1, 2019, an analyst report from Guggenheim Partners stated “LYFT
 4   claims that U.S. share has ramped from 22% in 2016 to 39% in 2018. Our own Google Trends
 5   analysis comparing share of search volume across top ride-hail markets puts LYFT share at
 6   24%.” The report was featured on CNBC.com. Lyft’s share price fell nearly 12% on this news.
 7          141.     Then, on April 11, 2019, after the close of the market, Uber filed its Form S-1
 8   with the SEC. Uber’s Form S-1 claimed a market share greater than 65% in the United States and
 9   Canada, a claim that further undermined Lyft’s purported claim of 39% market share. Lyft’s
10   stock price declined another 1.83% the next day.
11   The Registration Statement failed to disclose the key metrics used to measure financial
12   performance and growth were about to be abandoned.
13          142.     In the lead up to Lyft’s IPO, a major question for investors was whether the
14   Company would ever become profitable.
15          143.     The Registration Statement pointed to “Bookings” and “Revenue as a Percentage
16   of Bookings” as key metrics, including to “evaluate our business, measure our performance,
17   identify trends affecting our business, formulate business plans and make strategic decisions.”
18          144.     The Registration Statement emphasized that Bookings were a “key indicator” of
19   growth for the business and a key metric to analyze revenue growth:
20              Bookings reflects the total dollar value of transportation spend that we
21              facilitate through our platform, excluding the reductions below. We believe
                this is a key indicator of the utility of transportation solutions provided
22              through our multimodal platform, as well as the scale and growth in our
                business.
23
                Our Bookings represents the amounts from which we earn our revenue
24              and we expect that our revenue will grow as our Bookings grows.
25              Accordingly, we exclude from Bookings amounts from which we would not
                generate revenue, such as pass-through amounts paid to drivers as our
26              calculation of service fees and commissions excludes such amounts.
27          145.     Similarly, the Registration Statement highlighted Revenues as a Percentage of
28   Bookings as a “key measure” that the Company expected to increase in the future:


     AMENDED COMPLAINT                               40                 CASE NO. 4:19-CV-02690-HSG
            Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 41 of 64




                   Over the periods presented, our Revenue as a Percentage of Bookings has
 1                 improved as we have increased service fees and commissions, improved the
 2                 efficiency and effectiveness of driver incentives, which reduces the amount
                   of incentives that have the effect of decreasing revenue, and reduced
 3                 market-wide price adjustment promotions offered to ridesharing riders. The
                   growth rate in Revenue as a Percentage of Bookings increased significantly
 4
                   in the first and second quarters of 2017 as more riders used our platform
 5                 and we experienced increased usage of our platform by riders, which
                   enabled us to provide more earnings opportunities for drivers and increased
 6                 service fees and commissions. The growth rate in Revenue as a Percentage
                   of Bookings increased significantly in the second and fourth quarters of
 7
                   2018 as we increased service fees and commissions in line with the industry,
 8                 and had greater efficiency and effectiveness of our driver incentives,
                   respectively. We expect our Revenue as a Percentage of Bookings to
 9                 increase over time as we improve the utilization of driver hours, increase
                   the efficiency of driver incentives and grow revenue from our network of
10
                   shared bikes and scooters and from the Select Express Drive Partner.
11          146.      The Bookings and Revenues as a Percentage of Bookings metrics were central to
12   the Registration Statement’s discussion of the Company’s revenue growth in the years leading up
13   to the IPO:
14
                   2016 Compared to 2017
15
                   Revenue increased $716.6 million, or 209%, in the year ended
16                 December 31, 2017 compared to the prior year. The increase was driven by
                   a 141% increase in Bookings and a 28% increase in Revenue as a
17
                   Percentage of Bookings. The increase in Bookings was primarily related to
18                 a 131% increase in Rides, driven primarily by an increase of between 91%
                   and 128% in Active Riders in each of the quarters of 2017 compared to the
19                 same periods in 2016. The increase in Active Riders was primarily due to
                   an increase in our market share, our geographic expansion and wider market
20
                   adoption of ridesharing. Revenue as a Percentage of Bookings increased
21                 28%, from 18% for the year ended December 31, 2016 to 23% for the year
                   ended December 31, 2017. This five percentage point improvement in
22                 Revenue as a Percentage of Bookings was driven by increased service fees
                   and commissions, which contributed approximately two percentage points,
23
                   greater efficiency and effectiveness of driver incentives, which contributed
24                 approximately two percentage points, and a reduction in market-wide price
                   adjustment promotions offered to ridesharing riders, which contributed
25                 approximately one percentage point.
26                 2017 Compared to 2018
27
                   Revenue increased $1.1 billion, or 103%, in the year ended December 31,
28                 2018 compared to the prior year. The increase was driven by a 76%


     AMENDED COMPLAINT                                 41                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 42 of 64




                increase in Bookings and a 17% increase in Revenue as a Percentage of
 1              Bookings. The increase in Bookings was primarily related to a 65% increase
 2              in Rides, driven primarily by an increase of between 47% and 74% in Active
                Riders in each of the quarters of 2018 compared to the same periods in 2017.
 3              The increase in Active Riders was primarily due to an increase in our market
                share and wider market adoption of ridesharing. Revenue as a Percentage
 4
                of Bookings increased four percentage points from 23% for the year
 5              ended December 31, 2017 to 27% for the year ended December 31, 2018.
                This four percentage point improvement in Revenue as a Percentage of
 6              Bookings was driven by greater efficiency and effectiveness of driver
                incentives, which contributed approximately two percentage points,
 7
                increased service fees and commissions, which contributed approximately
 8              one percentage point and revenue from the Select Express Drive Partner
                program, which contributed approximately one percentage point.
 9
            147.    The statements in paragraphs 143-46 were materially misleading, omitted
10
     information necessary in order to make the statements not misleading, and omitted material facts
11
     required to be stated therein because they failed to disclose that Lyft was about to stop reporting
12
     these “key” metrics of performance and growth. Indeed, these “key” metrics were notably absent
13
     when Lyft reported its first quarter 2019 earnings – Lyft’s first quarter as a public company – on
14
     May 7, 2019.
15
            148.    After touting the importance of the metrics in the Registration Statement just five
16
     weeks earlier, investors and analysts were left to guess the true nature of Lyft’s performance.
17
            149.    An article published on Quartz.com wrote disapprovingly:
18
                In its earnings report, Lyft also chose to withhold gross bookings, a measure
19              of the total dollar value of sales made through its platform. Ride-hail
20              companies like Uber and Lyft pay out the bulk of bookings (fares) to drivers
                as earnings. Figuring out how to increase the share of the fare the company
21              keeps—called the “take rate”—while still paying enough to make the gig
                worthwhile for drivers is a key challenge for these companies, and one that
22              will help determine whether they can ever become profitable.
23
                Lyft had highlighted gross bookings in its IPO filing and in particular its
24              take rate, which grew steadily throughout 2017 and 2018. For the company
                to suddenly stop sharing those figures in its first quarterly earnings report
25              is a surprise.
26          150.    An article published on MarketWatch.com criticized Lyft for beginning “life as a
27   public company by taking away crucial information for investors, and insultingly insist[ing] that
28   it was for their own good.” Lyft’s CFO, Brian Roberts, attempted to explain the decision on a


     AMENDED COMPLAINT                               42                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 43 of 64




 1   conference call, stating “We are now aggressively investing in new areas including those where
 2   revenue equals booking and so we really wanted to avoid investor confusion.” Despite Roberts’
 3   professed desire to avoid confusion, the MarketWatch article observed that Lyft’s earnings report
 4   offered plenty:
 5              Lyft offered investors several different versions of profitability, including
 6              GAAP and non-GAAP net income, GAAP and non-GAAP operating
                income, and adjusted EBITDA, with vast differences in all those numbers.
 7              Lyft even offered an extremely nontraditional “adjusted cash” figure in
                supplemental materials, so that it could add in the IPO proceeds even though
 8              the company received them after the quarter was over.
 9              Lyft did not offer any other numbers that could provide visibility into the
10              revenue breakdown, though.

11          151.       Lyft’s failure to disclose that it would no longer report the “key” metrics

12   indicative of the Company’s growth and revenue also violated the disclosure requirements of

13   Item 303. The Registration Statement repeatedly emphasized the importance of these metrics,

14   including statements that “Our bookings represents the amounts from which we earn our revenue

15   and we expect that our revenue will grow as our Bookings grow,” and “Over the periods

16   presented, our Revenue as a Percentage of Bookings has improved . . . . We expect our Revenue

17   as a Percentage of Bookings to increase over time.” These metrics were integral to the path to

18   future profitability set forth in the Registration Statement. Whatever the reasoning behind the

19   decision, abandoning the “key” metrics is precisely the kind of event which requires disclosure

20   under Item 303.

21          152.       Touting the growth of “key” revenue metrics in the Registration Statement was

22   misleading for the additional reason, discussed below, that Lyft failed to disclose that it was just

23   three days from closing its largest single-quarter loss in the Company’s history.

24   The Registration Statement failed to disclose that Lyft suffered a record loss for the first

25   quarter of 2019.

26          153.       The Registration Statement also omitted material facts required to be stated

27   therein because the Company failed to disclose that it was just three days away from closing the

28   first quarter of 2019 with record losses. Lyft’s first quarter losses, which were announced just


     AMENDED COMPLAINT                                  43                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 44 of 64




 1   five weeks after the Offering but not disclosed in the Registration Statement, came in at a record
 2   $1.14 billion or $48.53 per share.
 3          154.    Lyft claimed that the loss was attributable to compensation charges. However,
 4   Lyft’s adjusted loss, which excluded roughly $894 million in stock-based compensation related
 5   to the IPO and other adjustments, came in at $211 million or approximately $9 per share,
 6   whereas analysts had expected losses of $3.77 per share.
 7          155.    That Lyft’s adjusted losses came in at nearly three times analyst expectations was
 8   also troubling because Lyft’s reported revenue of $766 million actually beat the $739.9 million
 9   expected by analysts. Lyft’s adjusted loss of $211 million marked only a slight improvement
10   over the $228 million adjusted loss reported for the same period in 2018. With just three days left
11   in the first quarter at the time of the IPO, Lyft was aware that it was about to record the
12   disappointing loss. Item 303 required management to discuss this trend in the Registration
13   Statement, which Lyft failed to do. The lackluster performance was compounded by the
14   undisclosed decision to remove the “key” growth metrics as this prevented analysts and investors
15   from comparing Lyft’s performance to prior periods.
16          156.    After the Company announced the poor earnings, which also omitted the “key”
17   metrics, Lyft’s stock price fell nearly 11% at the close of trading on May 8, 2019.
18          157.     Despite Lyft’s attempt to attribute the loss to compensation charges, the financial
19   media and investors were unconvinced. Quartz.com published an article titled “Mind the GAAP,
20   How Lyft disguises its losses,” criticizing Lyft for using unconventional accounting methods to
21   suggest that the record $1.14 billion loss was not as bad as it looked, as well as for doing away
22   with the “key” metrics Lyft had highlighted in the Registration Statement. A Wall Street Journal
23   article published a week after Lyft announced its first quarter results, titled “Uber and Lyft Get
24   Creative With Numbers, but Investors Aren’t Blind to the Losses” criticized Lyft for using
25   “creative accounting [] reminiscent of the late 1990s dot-com bubble, when money-losing
26   companies went public touting ‘pro forma’ profit as a better measure of financial performance.”
27
28


     AMENDED COMPLAINT                                44                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 45 of 64




 1   The Registration Statement failed to disclose issues with Lyft’s bikesharing program.
 2           158.    On November 30, 2018, Lyft completed its acquisition of Motivate, the largest
 3   bike sharing platform in the United States. The Motivate acquisition marked a major step toward
 4   Lyft’s strategy to achieve growth through the expansion of its transportation offerings.
 5           159.    The acquisition included a commitment by Lyft to invest $100 million in the
 6   bikesharing system for the New York metro area over the next five years. The commitment
 7   garnered positive headlines for Lyft, including “Citi Bike to triple in size, thanks to $100 million
 8   from new owner Lyft.”
 9           160.    In the weeks leading up to the IPO, Lyft’s Head of Bike, Scooter, & Pedestrian
10   Policy, Caroline Samponaro, authored an article titled “How Electric Bikes Are Changing the
11   Game for Urban Mobility.” Samponaro touted Lyft’s plans to expand its electric bike offerings,
12   writing, in part:
13               To date, we’ve only deployed electric bikes on a relatively small scale in
14               select cities. That’s about to change, because of the results we’ve seen. The
                 early data hints at the enormous potential:
15
                         •   So far, we’ve piloted electric bikes in our bikeshare networks in
16                           the Bay Area, New York City and Washington DC area.
                             Altogether, riders have pedaled more than 912,000 trips on
17
                             electric bikes since our pilots began.
18
                                                      ***
19
                 You know Lyft as a rideshare company, so it might be surprising to hear
20               this: we truly believe electric bikes will become a real alternative to rides in
                 cars, and we’re excited about that. Bikeshare is a natural extension of Lyft’s
21               vision to improve transportation access, sustainability and affordability. We
22               want the members of our community to get where they are going quickly
                 and easily, and it’s very clear that electric bikes are the next great way to do
23               that.
24           161.    Echoing Samponaro’s sentiment, the Registration Statement addressed Motivate,
25   making the following representations concerning the purpose behind the Company’s acquisition
26   of the bike sharing outfit:
27
28


     AMENDED COMPLAINT                                 45                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 46 of 64




                We are investing in the expansion of our scooter network and have
 1              expanded into shared bikes with our recent acquisition of Motivate, the
 2              largest bike sharing platform in the United States.

 3                                                  ***
 4              On November 30, 2018 (the Closing Date), the Company completed its
                acquisition of Motivate, a New York-headquartered bikeshare company, for
 5              cash consideration of $250.9 million. The purpose of the acquisition is to
 6              establish a solid foothold in the bikeshare market and offer access to new
                transportation options on the Lyft Platform.
 7
                                                    ***
 8
                Lyft bikes are standard and electric pedal-assist bicycles. Through our
 9              acquisition of Motivate, the largest bike sharing platform in the United
10              States, we are well-positioned to lead sustainable mobility in the markets
                we serve. This platform brings expertise in managing bike share systems in
11              partnership with cities and local governments across the country, currently
                operating in nine major cities across the United States. In 2017, there were
12              more than 35 million bike share trips in the United States, of which 74%
13              were on Motivate systems.

14          162.    The Registration Statement also disclosed that as part of the acquisition, Lyft

15   “committed to invest $100 million in the bikesharing system for the New York metro area over

16   the next five years.”

17          163.    The Registration Statement highlighted the Motivate acquisition in discussing

18   “several key milestones” that Lyft had achieved since its inception in 2012:

19
20
21
22
23
24
25
26
27
28


     AMENDED COMPLAINT                               46                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 47 of 64




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21          164.    In addition to being the most recent “key milestone” leading up to Lyft’s IPO, the
22   Motivate acquisition marked Lyft’s first significant foray outside of its traditional ridesharing
23   model. The Motivate acquisition was important to the Company’s future growth because, unlike
24   Uber, which also offers food delivery and freight services for businesses, Lyft’s “singular focus”
25   was on transportation.
26          165.    In a section titled ‘Why Lyft Wins,” the Registration Statement emphasized Lyft’s
27   “Singular Focus on Transportation,” explaining that “We are singularly focused on
28   revolutionizing transportation. This enables us to continually address the needs of a diverse and


     AMENDED COMPLAINT                                47                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 48 of 64




 1   evolving user base through innovative offerings, scale our user network and grow our market
 2   share. We believe that this focused approach is critical to truly leading and winning the TaaS
 3   market.” The Registration Statement also highlighted Lyft’s “Innovative Multimodal Platform”
 4   as a reason “Why Lyft Wins.” Lyft’s multimodal platform included “a network of shared bikes
 5   and scooters in a number of cities to address the needs of riders who are looking for lower-
 6   priced, more active and often more efficient options for short trips during heavy traffic. These
 7   modes can also help supplement the first mile and last mile of a multimodal trip with public
 8   transit.”
 9           166.     In a section titled “Our Growth Strategy,” the Registration Statement stated “U.S.
10   consumers spend over $1.2 trillion on transportation annually. We are in the very early phases of
11   capturing this large opportunity.” Lyft’s bikesharing business featured prominently in the
12   ensuing discussion of Lyft’s growth strategy, which included: “Increase Our Use Cases” by
13   extending Lyft’s “offerings to make Lyft the TaaS network of choice across an expanding range
14   of use cases”; “Expand Our Multimodal Offerings” to offer riders increased transportation
15   options to increase rider engagement; and “Grow Our Share of Rider Transportation Spend” by
16   offering a breadth of multimodal transportation options so that riders would be more likely to
17   turn to Lyft for all their transportation needs. The Motivate acquisition was also the featured
18   example for how Lyft planned to achieve growth through the “Pursu[it] [of] M&A and Strategic
19   Partnerships.”
20           167.     The Registration Statement also discussed “Key Benefits to Riders,” explaining
21   “We work hard to provide our riders with a quality experience every time they open the Lyft app,
22   in order to earn the right to have Lyft be their TaaS network of choice.” To that end, the
23   Registration Statement highlighted that “[t]he high availability of our platform and the breadth of
24   our offerings have made us the preferred TaaS network for millions of riders[,]” including
25   through the expansion of Lyft’s “recently introduced network of shared bikes and scooters.”
26           168.     Further, the Registration Statement emphasized Lyft’s access to and reliance on
27   real-time data regarding its bikes and scooters: “Beyond facilitating our ridesharing marketplace,
28   we also utilize data-driven insights to improve our network of shared bikes and scooters.”


     AMENDED COMPLAINT                                48                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 49 of 64




 1          169.    The Registration Statement also stressed Lyft’s commitment to safety for its bike
 2   and scooter offerings, explaining that “[s]afety is a key tenet that guides our work with bikes and
 3   scooters” and “[w]e are committing to high safety standards for the operation of bikes and
 4   scooters on our platform to best serve our riders and broader communities.”
 5          170.    Lyft’s statements were materially misleading, omitted information necessary in
 6   order to make the statements not misleading, and omitted material facts required to be stated
 7   therein because they failed to disclose that thousands of the bikes in Lyft’s rideshare program
 8   suffered from safety and maintenance issues that jeopardized the growth and success that Lyft
 9   hoped to achieve through the expansion of its bikeshare offering. By the time of the IPO, Lyft’s
10   bikeshare program was experiencing severe and pervasive safety issues. These problems
11   extended to the newly introduced electric bike fleet as well.
12          171.    The problems with Motivate’s bikes were so prevalent that it became a “public
13   safety issue, not just a customer complaint issue.” There were dozens of reports of riders
14   suffering scrapes, bruising and broken limbs.
15          172.    Motivate management was notified of these bike problems. Members of
16   Motivate’s management, including Samponaro, moved over to Lyft once the acquisition was
17   completed. Thus, months before the IPO, Lyft was aware of problems plaguing Motivate’s bike
18   fleet. Further, the contracts entered into between Motivate and the cities they operated in
19   contained extensive record-keeping and reporting requirements. As a result, every crash and
20   complaint was logged in Motivate’s system, which Lyft obtained full access to, including
21   engineering and customer service records.
22          173.    On September 26, 2018, an article titled “It’s Not Your Imagination – Something
23   is Seriously Wrong With Citi Bike Right Now,” revealed that “[a]ccording to the Lyft-owned
24   company’s own data,” twenty-one percent of Citi Bike’s fleet had “simply disappeared” in just a
25   two-week period. The article noted that despite being the world’s most popular bike share
26   system, it was “far and away the world’s worst-maintained system[,]” and that “[n]o other
27   comparable bike-share system comes even close” to having such a large percentage of its fleet
28   unavailable. Motivate admitted to the problems, stating “Keeping the bike fleet in a state of good


     AMENDED COMPLAINT                               49                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 50 of 64




 1   repair is a key priority for Citi Bike, and right now we have a backlog of bikes that are due for
 2   maintenance and repairs.”
 3          174.    Another article on the same topic noted that Citi Bike’s contract with New York
 4   City called for fines of nearly $1.4 million due to the failure to maintain availability of 97
 5   percent of the fleet. Although the City commented that it had “not sought any damages from
 6   Motivate yet[,]” the article highlighted that the “repair crisis comes at a sensitive time for the
 7   nation’s biggest bike share system, which is owned by Lyft” as Motivate was already struggling
 8   to expand the bike share program.
 9          175.    As for Lyft’s electric bike fleet, dozens of riders sustained serious injuries due to
10   a then-unknown issue with the braking system used on the electric bikes. Examples of rider
11   injuries sustained by the electric bike braking defect in the time leading up to the IPO include:
12              Mid-February 2019 – Dominik Glodzik flew over his handlebars after
13              attempting to brake before a stop sign.

14              February 19, 2019 – John Bacon hurtled over his handlebars after tapping
                the brake. Bacon lost mobility in his left knee as a result of the crash.
15
                March 3, 2019 – Julia Li broke her left wrist after flying off her hard-braking
16              bike.
17              Mid-March 2019 – Jordan Wyckoff flew over his handlebars after the front
18              wheel locked up when he hit the brakes.

19              March 16, 2019 – Felipe Ventura flew over his handlebars after braking to
                avoid a pedestrian, breaking both of his elbows. Adding insult to injury,
20              Lyft charged Ventura an overtime fee for four hours for failing to properly
                dock his bike after the accident.
21
22              March 17, 2019 – Bill Somers flew over his handlebars after “lightly
                tapp[ing]” the brake, breaking his hip and spending four days in the hospital.
23              Somers explained, “I literally touched [the brake] with two of my fingers
                and it locked up.”
24
            176.    On April 14, 2019, as a result of the braking issue, Lyft pulled its entire fleet of
25
     thousands of electric bikes in New York, Washington D.C., and San Francisco.
26
            177.    It was later revealed that the problem resulted from Motivate’s failure to follow
27
     instructions from component manufacturer, Shimano. Specifically, the Shimano brakes used on
28


     AMENDED COMPLAINT                                 50                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 51 of 64




 1   the electric bikes required a “power modulator” to ensure proper function. Lyft’s electric bikes
 2   lacked this feature. Shimano issued a statement putting the blame on Lyft:
 3               Shimano provides specification requirements for bicycle manufacturers to
 4               refer to when designing bicycles. When designed and assembled to these
                 specifications the brakes perform to global standards. With regards to this
 5               specific case, based on the information we have, this is not a Shimano
                 brake issue as the specification requires the use of a power modulator for
 6               this brake. It appears this specification was not followed by manufacturers
 7               of some of the bicycles in question.
             178.    Indeed, Shimano’s user and dealer manual explicitly states: “If the hub is not
 8
     equipped with the power modulator, the braking force may be excessively applied.”
 9
             179.    Holly Brinkman, head of marketing for GenZe, which manufactured Motivate’s
10
     first line of electric bikes, noted that GenZe’s bikes were not part of the recall. Brinkman stated
11
     that when Lyft acquired Motivate, the Company moved the GenZe bikes to San Jose and
12
     replaced them with modified bikes taken from Motivate’s existing fleet. Brinkman added, “In
13
     terms of expansion, it was more affordable to electrify their existing bikes rather than acquire
14
     new electric bikes. [Lyft] essentially did a makeshift electric bike with their existing frame and
15
     model.”
16
             180.    Bicycling Magazine spoke with a Motivate bike mechanic who said “employees
17
     were not trained to work with the electronic braking systems or e-brakes in general. As reports
18
     of crashes came in, mechanics were told to run through a series of basic maintenance tests,
19
     including torqueing and re-greasing the brakes. None of these seemed to work.” The mechanic
20
     further stated, “I do believe it was a fundamental lack of knowledge about what was going on[.] .
21
     . . It seems like we were getting repairs into the shop before most mechanics knew how to work
22
     on them[,]” and that “The e-bikes seemed a bit rushed, almost like they were trying to make it
23
     out first rather than taking the time to do things right.”
24
             181.    Similarly, a Citi Bike employee with knowledge of the electric bikes told the New
25
     York Daily News: “I knew this was going to occur,” and “It’s just one quick fix after another—
26
     these bikes are cheap.”
27
28


     AMENDED COMPLAINT                                 51                CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 52 of 64




 1           182.   Initially believing that the injuries sustained were the riders’ own fault, riders felt
 2   betrayed when the truth came out, prompting some to seek legal action against Lyft. One rider
 3   said “I initially blamed myself, I told everybody that it seemed really odd how sensitive the
 4   brake was.” Another rider said “I’m pretty confident on a bike, it just didn’t occur to me that
 5   there was a problem with the Citi Bike.”
 6           183.   Although the Registration Statement noted that revenue from Lyft’s network of
 7   bikes and scooters “was not material for the year ended December 31, 2018,” the Registration
 8   Statement made clear that the expansion of Lyft’s bike and scooter offering was a key to the
 9   Company’s growth plans.
10           184.   The materiality of Lyft’s misleading statements and omissions is evident from the
11   response to the electric bike recall – the Company’s share price declined 6.32% on April 15,
12   2019.
13           185.   To be sure, in response to criticism of Lyft’s decision to stop reporting Bookings
14   and Revenue as a Percentage of Bookings in its 1Q19 earnings, Lyft’s CFO explained the
15   decision by stating, “We’re now aggressively investing in new areas, including those where
16   revenue equals bookings. . . . [A]s we begin to expand our shared networks of bikes and scooters
17   . . . we don’t think the ride metric is the best way to understand our business going forward.”
18           186.   In addition to the materially misleading statements and omissions described in
19   paragraphs 161-69 above, the Registration Statement misleadingly assured investors that the
20   factors that could prevent the successful growth of Lyft’s bikeshare platform were hypothetical
21   risks rather than concealed realities.
22           187.   For example, the Registration Statement acknowledged that “Our business in part
23   depends on our ability to efficiently grow and further develop our network of shared bikes and
24   scooters, which may not grow as we expect or become profitable over time.” In discussing the
25   potential “Risk Factors” that could adversely affect the Company’s growth and financial
26   condition, the Registration Statement provided:
27              [T]he market for our other offerings, such as our network of shared bikes
28              and scooters, is new and unproven, and it is uncertain whether demand for


     AMENDED COMPLAINT                                 52                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 53 of 64




                  bike and scooter sharing will continue to grow and achieve wide market
 1                acceptance. Our success will depend to a substantial extent on the
 2                willingness of people to widely-adopt ridesharing and our other offerings.
                  If the public does not perceive our ridesharing or our other offerings as
 3                beneficial, or chooses not to result them as a result of concerns regarding
                  safety, affordability, or other reasons, whether as a result of incidents on our
 4
                  platform or on our competitors’ platforms or otherwise, then the market for
 5                our offering may not further develop, may develop more slowly than we
                  expect or may not achieve the growth potential we expect, any of which
 6                could adversely affect our business, financial condition and results of
                  operations.
 7
             188.     In discussing the risks of harm to Lyft’s reputation, the Registration Statement
 8
     provided, “[n]egative perception of our platform or company may harm our reputation, brand
 9
     and network effects, including as a result of: . . . a failure to detect a defect in our . . . bikes or
10
     scooters.”
11
             189.     Similarly, the Company disclosed the “risk” that it might not achieve growth and
12
     profitability “[e]ven if we are able to successfully develop and implement our network of shared
13
     bikes and scooters,” but couched this “risk” in hypothetical terms by stating that:
14
15                [T]here may be heightened public skepticism of this nascent service
                  offering. In particular, there could be negative public perception
16                surrounding bike and scooter sharing, including the overall safety and the
                  potential for injuries occurring as a result of accidents involving an
17                increased number of bikes and scooters on the road. Such negative public
18                perception may result from incidents on our platform[.]

19                                                     ***

20                Our bikes and scooters or components thereof, including bikes and scooters
                  and components that we design and contract to manufacture using third-
21                party suppliers, may experience quality problems or defects from time to
22                time, which could result in decreased usage of our network of shared bikes
                  and scooters. There can be no assurance we will be able to detect and fix all
23                defects in our bikes and scooters. Failure to do so could result in lost
                  revenue, litigation or regulatory challenges, including personal injury or
24                products liability claims, and harm to our reputation.
25           190.     The Registration Statement also disclosed the “risk” that “Our bikes and scooters
26   may experience quality problems from time to time, which could result in product recalls,
27   injuries, litigation, enforcement actions and regulatory proceedings, and could adversely affect
28   our business, brand, financial condition and results of operations.”


     AMENDED COMPLAINT                                   53                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 54 of 64




                We design and contract to manufacture, and directly and indirectly modify,
 1              maintain and repair, bikes and scooters for our network of shared bikes and
 2              scooters. Such bikes and scooters may contain defects in their design,
                materials and construction or may be improperly maintained or repaired.
 3              These defects or improper maintenance or repair could unexpectedly
                interfere with the intended operations of the bikes or scooters, which could
 4
                result in injuries to riders.
 5          191.    In describing the “risk” of claims from riders of Lyft’s bikes, the Registration
 6   Statement hypothetically warned:
 7
                As we expand our network of shared bikes and scooters, we may be subject
 8              to an increasing number of claims, lawsuits, investigations or other legal
                proceedings related to injuries to, or deaths of, riders of our bikes and
 9              scooters. Any such claims arising from the use of our bikes and scooters,
10              regardless of merit or outcome, could lead to negative publicity, harm to
                our reputation and brand, significant legal, regulatory or financial exposure
11              or decreased use of our bikes and scooters.
12          192.    The foregoing “Risk Factors” were materially misleading because the

13   hypothetical risks warned of were present realities. Lyft’s fleet of bikes were already

14   experiencing dangerous defects and were being improperly repaired, making these “Risk Factor”

15   disclosures materially misleading and omitting material facts.

16          193.    Similarly, Lyft violated Item 303 by failing to disclose material facts required to

17   be stated in the Registration Statement – that thousands of Lyft’s bikes were plagued with

18   dangerous defects and that the Company had been unable to keep up with maintenance

19   requirements to ensure availability to riders.

20   The Registration Statement contained misleading statements and omissions concerning Lyft’s

21   treatment of drivers and the potential for labor disruptions.

22          194.    The Registration Statement also addressed Lyft’s treatment of its drivers stating:

23              Driver-Centric. We focus on providing drivers with a best-in-class
                experience. From day one, we offered in-app tipping to help drivers
24
                maximize earnings. Drivers have access to 24/7 support and earnings tools
25              as well as career coaches, education resources and flexible car rental
                programs. We are also making significant investments in Driver Hubs, our
26              driver-centric service centers and community spaces, to assist drivers on
                and off the road. We also introduced subscription offerings to encourage
27
                greater ride frequency, thereby providing more earning opportunities for
28              drivers.


     AMENDED COMPLAINT                                54                 CASE NO. 4:19-CV-02690-HSG
          Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 55 of 64




                                                 ***
 1
 2           Personalized, Data-Driven Insights. We have collected data from over one
             billion rides and over ten billion miles driven to inform our machine
 3           learning algorithms and data science engines. We leverage insights from
             this data to improve the product experience for riders by presenting them
 4           with personalized transportation options. Our data insights also allow us to
 5           anticipate market specific demand, enabling us to create customized
             incentives for drivers in local markets. We enable riders to optimize routes
 6           across multiple modes of transportation which we believe provides us with
             a significant advantage over single modality provider.
 7
                                                 ***
 8
             Ridesharing Marketplace. Our core offering since 2012 connects drivers
 9
             with riders who need to get somewhere. The scale of our network enables
10           us to predict demand and proactively incentivize drivers to be available for
             rides in the right place at the right time. This allows us to optimize earning
11           opportunities for drivers and convenience for riders, creating sustainable
12           value to both sides of our marketplace.

13                                               ***

14           Key Benefits to Drivers

15           We work hard to serve the community of drivers on our platform,
             empowering them to be their own bosses and providing them the
16           opportunity to focus their time on what matters most. Key benefits to drivers
17           on our platform include:

18           • Flexibility. Whether someone is fully-employed or retired, having the
             flexibility to work when they choose can make a big difference. Drivers can
19           sign up for Lyft easily from their device of choice. After background and
             safety checks are completed and their application is approved, they can start
20
             earning. Drivers can choose to get paid almost instantly with Express Pay
21           or choose to have their earnings deposited on a weekly basis. In select cities,
             drivers who do not own a vehicle can get a flexible car rental with our
22           Express Drive program in partnership with Hertz, Flexdrive and Avis
             Budget Group.
23
24           • Income. Drivers have earned over $10 billion on our platform since
             inception. Our predictive technology around ride volume and demand
25           enables us to share key information with drivers about when and where to
             drive in order to maximize their earnings on a real-time basis.
26
             • Trust and Safety. Safety is our top priority, and establishing a community
27
             built on trust and safety is paramount to our success. We were the first to
28           provide up to $1 million in commercial automobile liability insurance for


     AMENDED COMPLAINT                             55                 CASE NO. 4:19-CV-02690-HSG
            Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 56 of 64




                Transportation Network Company, or TNC, delivers from the moment they
 1              are matched with a rider until that rider is dropped off. We also provide
 2              drivers support in emergency situations and accidents. In addition, all riders
                using the Lyft app must provide valid payment credentials and a phone
 3              number for identification purposes prior to requesting a ride. All
                transactions are processed through our platform, so drivers do not need to
 4
                worry about carrying cash.
 5
                • Extensive Support. We invest heavily in driver support and are
 6              continuously innovating to improve driver experiences. Our Driver Hubs
                and field locations in major cities serve as gathering places and offer in
 7              person support and a personal connection to Lyft employees. In addition,
 8              drivers have access to 24/7 support and earnings tools, as well as career
                coaches, education resources and other support to meet their personal goals.
 9
                                                    ***
10
                Our Growth Strategy
11
                                                    ***
12
                Invest in Technology to Strengthen Our Network and Increase Efficiency.
13
                Our investments in proprietary technologies and predictive analytics
14              leverage insights derived from the rich set of data generated by our platform.
                These investments allow us to deliver an affordable, convenient and high-
15              quality experience for our riders and increase the earnings of drivers. Our
                investments in mapping, routing, payments, in-app navigation and matching
16
                technologies are key to integrating technology and leveraging data science
17              into our platform in order to increase the efficiency of our platform and
                improve safety. In addition, we are investing in autonomous technology,
18              which we believe will be a critical part of the future of transportation.
19                                                  ***
20
                Optimizing Marketplace Supply
21
                Once drivers sign up and begin driving, our predictive analytics and
22              dynamic pricing algorithms help us to align driver incentives to encourage
                drivers to be available, at the right times, in areas of high demand. This
23              helps provide drivers with potentially higher earning opportunities by
24              allowing them to maximize their earnings per hour, which can elevate driver
                satisfaction, increase supply in peak hours and improve the overall
25              efficiency of the marketplace.
26          195.   The statements concerning Lyft’s drivers were materially misleading, omitted

27   information necessary in order to make the statements not misleading, and omitted material facts

28


     AMENDED COMPLAINT                               56                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 57 of 64




 1   required to be stated therein because they failed to disclose that Lyft’s strategy of treating drivers
 2   as independent contractors led to labor unrest which threatened the Company’s operations.
 3          196.    As discussed in paragraph 112, Lyft’s strategy to treat their drivers as independent
 4   contractors also led the Company to avoid taking proper steps to curb the sexual assault
 5   problems, including by not providing adequate sexual assault training, for fear that doing so
 6   would lead to drivers being classified as employees.
 7          197.    In the lead-up to the IPO, to increase the Company’s reported revenues and
 8   profits, Lyft had caused its ridesharing app to begin charging higher “surge pricing” more often
 9   than it had previously been doing, and caused the app to retain a higher portion of the additional
10   revenue without sharing a proportionate share with drivers. This led to decreased payment to
11   drivers, disincentivizing them to drive for Lyft, and potentially damaging the business on a long-
12   term basis. As a result, Lyft’s business metrics, growth potential, and financial prospects were
13   not as strong as presented in the Offering Materials.
14          198.    The Registration Statement also failed to warn investors of the potential for a
15   labor disruption notwithstanding the fact that on Monday, March 25, 2019, Lyft’s drivers in Los
16   Angeles had gone on strike for 25 hours.
17          199.    In addition, at the time of the IPO, Lyft was actively fighting efforts by the state
18   of California to make it easier to classify Lyft drivers as employees.
19          200.    The potential for a labor disruption was further increased by the undisclosed fact
20   that Lyft planned to stop reporting Revenue as a Percentage of Bookings. This was important
21   because drivers had been complaining of not being paid enough, and without this metric,
22   investors would be unable to gauge the likelihood of a labor disruption.
23          201.    On May 6, 2019, Lyft’s stock price fell 3.2% following revelations that Lyft
24   drivers were planning to go on strike on Wednesday, May 8, 2019. On May 7, 2019, Lyft
25   announced its record loss for the first quarter of 2019 in which the Company also ceased
26   reporting its “key” metrics (¶¶ 147, 156). In conjunction with the labor strike, Lyft’s share price
27   fell an additional 11% by the close of May 8, 2019.
28


     AMENDED COMPLAINT                                57                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 58 of 64




 1                    Plaintiff and the Class Were Damaged by the Misstatements
 2           202.    Lyft shares were sold in the IPO at $72.00 per share.
 3           203.    The true facts regarding the Offering Documents began to emerge immediately
 4   after the Offering. Beginning on April 1, 2019, when analysts questioned Lyft’s claimed market
 5   share, to May 17, 2019, the day the initial complaint in this Action was filed, Lyft’s stock price
 6   plummeted from $74.90 to $53.79 per share.
 7                                         Class Action Allegations
 8           204.    Plaintiff brings this action individually and as a class action on behalf of all
 9   persons or entities other than Defendants who purchased Lyft’s common stock pursuant to or
10   traceable to Lyft’s Initial Public Offering (the “IPO”) on March 28, 2019.
11           205.    This action is properly maintainable as a class action.
12           206.    The Class is so numerous that joinder of all members is impracticable. Millions
13   of shares were sold by Lyft in the IPO. Consequently, the number of Class members is believed
14   to be in the thousands and are likely scattered across the United States. Moreover, damages
15   suffered by individual Class members may be small, making it overly expensive and burdensome
16   for individual Class members to pursue redress on their own.
17           207.    There are questions of law and fact that are common to the Class and that
18   predominate over questions affecting any individual Class member. The common questions
19   include, among others:
20               a. whether the Registration Statement contained untrue statements of material fact;
21               b. whether the Individual Defendants signed the Registration Statement; and
22               c. whether the Underwriter Defendants acted as underwriters.
23           208.    Plaintiff’s claims are typical of the claims of the other members of the Class and
24   Plaintiff does not have any interests adverse to the Class.
25           209.    Plaintiff is an adequate representative of the Class, has retained competent
26   counsel experienced in litigation of this nature, and will fairly and adequately protect the
27   interests of the Class.
28


     AMENDED COMPLAINT                                 58                  CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 59 of 64




 1           210.    The prosecution of separate actions by individual members of the Class would
 2   create a risk of inconsistent or varying adjudications with respect to individual members of the
 3   Class, which would establish incompatible standards of conduct for Defendants; or adjudications
 4   with respect to individual members of the Class would, as a practical matter, be dispositive of the
 5   interest of other members or substantially impair or impede their ability to protect their interests.
 6           211.    There will be no difficulty in the management of this litigation. A class action is
 7   superior to other available methods for the fair and efficient adjudication of this controversy.
 8           212.    Defendants have acted on grounds generally applicable to the Class with respect
 9   to the matters complained of herein, thereby making appropriate the relief sought herein with
10   respect to the Class as a whole.
11                                                Count One
12                              Violation of Section 11 of the Securities Act
13                                          (Against All Defendants)
14           213.    Plaintiff repeats and realleges each and every allegation contained above as if
15   fully set forth herein.
16           214.    The Registration Statement contained untrue statements of material facts, omitted
17   to state other facts necessary to make the statements made not misleading, and omitted material
18   facts required to be stated therein.
19           215.    The Company is the issuer of the securities purchased by Plaintiff and the Class.
20   As such, the Company is strictly liable for the untrue statements of material facts contained in
21   the Registration Statement and the failure of the Registration Statement to be complete and
22   accurate.
23           216.    The Individual Defendants each signed the Registration Statement or authorized
24   the signing of the Registration Statement on their behalf.
25           217.    The Underwriter Defendants each served as underwriters in connection with the
26   Offering.
27           218.    By reason of the conduct herein alleged, each Defendant named herein violated
28   Section 11 of the Securities Act.


     AMENDED COMPLAINT                                59                  CASE NO. 4:19-CV-02690-HSG
               Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 60 of 64




 1             219.   Plaintiff acquired Lyft common stock pursuant or traceable to the Registration
 2   Statement used for the IPO, and without knowledge of the material omissions or
 3   misrepresentations alleged herein.
 4             220.   Plaintiff and the Class have sustained damages because they purchased Lyft stock
 5   at an inflated price, which declined in value as a result of the corrective disclosures detailed
 6   herein.
 7                                                Count Two
 8                           Violations of Section 12(a)(2) of the Securities Act
 9                                          (Against All Defendants)
10             221.   Plaintiff repeats and reallege each and every allegation contained above as if fully
11   set forth herein.
12             222.   This claim is brought pursuant to §12(a)(2) of the Securities Act, 15 U.S.C.
13   §77l(a)(2), on behalf of the Class, against Defendant Lyft, each of the Individual Defendants, and
14   each of the Underwriter Defendants. This is a non-fraud cause of action. Plaintiff does not assert
15   that Defendants committed intentional or reckless misconduct or that Defendants acted with
16   scienter or fraudulent intent.
17             223.   Defendants named in this Claim were sellers, offerors, and/or solicitors of
18   purchasers of the Company’s securities offered pursuant to the defective Prospectus. Defendants
19   issued or caused to be issued the Prospectus, which was used to induce investors, such as
20   Plaintiff and the other members of the Class, to purchase the Company’s shares. Defendants
21   solicited the purchase of securities and were motivated to do so at least in part by a desire to
22   serve their own financial interests.
23             224.   The Prospectus contained untrue statements of material facts, omitted to state
24   other facts necessary to make the statements made not misleading, and omitted material facts
25   required to be stated therein. The actions of solicitation by the Defendants named in this Claim
26   included participating in the preparation of the false and misleading Prospectus and roadshow,
27   and in the marketing of Lyft’s Class A common stock to investors, such as Plaintiff and the other
28   members of the Class.


     AMENDED COMPLAINT                                 60                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 61 of 64




 1          225.    Defendants named in this Claim owed to the purchasers of Lyft’s Common A
 2   common stock, including Plaintiff and other members of the Class, the duty to make a reasonable
 3   and diligent investigation of the statements contained in the Prospectus to ensure that such
 4   statements were true and that there was no omission to state a material fact required to be stated
 5   in order to make the statements contained therein not misleading. By virtue of each of these
 6   Defendants’ failure to exercise reasonable care, the Prospectus contained misrepresentations of
 7   material facts and omitted to disclose material facts necessary to make statements therein not
 8   misleading.
 9          226.    Plaintiff and the other Class members did not know, nor could they have known,
10   of the untruths or omissions contained in the Prospectus.
11          227.    The Defendants were obligated to make a reasonable and diligent investigation of
12   the statements contained in the Prospectus to ensure that such statements were true and that there
13   was no omission of material fact required to be stated in order to make the statements contained
14   therein not misleading. None of the Defendants made a reasonable investigation or possessed
15   reasonable grounds for the belief that the statements contained in the Prospectus were accurate
16   and complete in all material respects. Had they done so, these Defendants could have known of
17   the material misstatements and omissions alleged herein. In alleging the foregoing, Plaintiffs
18   specifically disclaim any allegation of fraud.
19          228.    This Claim is brought within one year after discovery of the untrue statements and
20   omissions in the Prospectus and within three years after the Company’s shares were sold to the
21   Class in connection with the Offering.
22          229.    By reason of the conduct alleged herein, the Defendants named in this Claim
23   violated Section 12(a)(2) of the Securities Act. As a direct and proximate result of such
24   violation, Plaintiff and the other members of the Class who purchased Lyft’s Class A common
25   stock pursuant to the Prospectus sustained substantial damages in connection with their share
26   purchases. Accordingly, Plaintiff and the other members of the Class who hold the shares issued
27   pursuant to the Prospectus have the right to rescind and recover the consideration paid for their
28


     AMENDED COMPLAINT                                61                CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 62 of 64




 1   shares with interest thereon or damages as allowed by law or in equity. Class members who have
 2   sold their Lyft shares seek damages to the extent permitted by law.
 3                                               Count Three
 4                             Violations of Section 15 of the Securities Act
 5                                  (Against the Individual Defendants)
 6           230.    Plaintiff repeats and realleges each and every allegation contained above as if
 7   fully set forth herein.
 8           231.    This claim is brought pursuant to §15 of the Securities Act, 15 U.S.C. §77o, on
 9   behalf of the Class, against each of the Individual Defendants.
10           232.    The Individual Defendants were controlling persons of the Company within the
11   meaning of §15 of the Securities Act. By reason of their ownership interest in, senior
12   management positions at, and/or directorships held at the Company, as alleged above, these
13   Defendants, individually and collectively, had the power to influence, and exercised same over
14   the Company to cause it to engage in the conduct complained of herein. As the Registration
15   Statement states, Lyft has “two classes of authorized common stock, Class A common stock and
16   Class B common stock,” with identical rights except that the Class B common stock gets 20
17   votes per shares whereas the Class A common stock – the stock sold in the IPO – only gets one
18   vote per share. Prior to the IPO, Defendant Green held 60.17% of the Class B common stock,
19   and Defendant Zimmer held 39.83% of the Class B common stock. As the Registration
20   Statement concedes, due to the split-share voting rights, even following the IPO, Defendant
21   Green would continue to hold 29.21% of the total Lyft voting power, and Defendant Zimmer
22   would continue to hold 19.38% of the total voting power. The Registration Statement further
23   concedes that, as a result, “individually or together, [they] will be able to significantly influence
24   matters submitted to [Lyft’s] stockholders for approval, including the election of directors,
25   amendments to [its] organizational document and any merger, consolidation, sale of all or
26   substantially all of [its] assets or other major corporate transaction,” and further that they “may
27   have interests that differ from [investors] and may vote in a way with which [investors] disagree
28   and which may be adverse to [investors’] interests.” The Registration Statement also stated that,


     AMENDED COMPLAINT                                 62                 CASE NO. 4:19-CV-02690-HSG
             Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 63 of 64




 1   prior to the IPO, Defendant Horowitz owned 6.25% of Lyft’s Class A common stock, Defendant
 2   Lawee owned 5.23% of Lyft’s Class A common stock, and Defendant Mikitani (who also served
 3   as Chairman and CEO of Rakuten) held voting and dispositive power over 13.05% of Lyft’s
 4   Class A common stock. As a result, at the time of the IPO, Defendants Green, Horowitz, Lawee,
 5   Mikitani and Zimmer collectively held 27.14% of Lyft’s Class A common stock and 100% of its
 6   Class B common stock, giving them 65% of its voting power. The Individual Defendants each
 7   had a series of direct and/or indirect business and/or personal relationships with other directors
 8   and/or officers and/or major shareholders of Lyft.
 9          233.    Similarly, each of the other Individual Defendants not only controlled those
10   subject to liability as primary violators of §§11 and 12(a)(2) of the 1933 Act alleged in the
11   Causes of Action above, they directly participated in controlling Lyft by having signed or
12   authorized the signing of the Registration Statement, and authorizing the issuance of Lyft stock
13   to Plaintiff and members of the Class.
14          234.    As control persons of Lyft, each of the Individual Defendants are jointly and
15   severally liable pursuant to §15 of the Securities Act with and to the same extent as Lyft for its
16   violations of §11 of the Securities Act.
17                                              Prayer for Relief
18          Plaintiff prays for judgment against all Defendants as follows:
19          a. Ordering that this action may be maintained as a class action and certifying Plaintiff
20              as Class representative and his counsel as Class counsel for actual damages and such
21              other relief as the court deems appropriate;
22          b. For pre-judgment and post-judgment interest on any such monetary relief;
23          c. For reasonable attorneys’ fees and costs;
24          d. For costs of suit herein; and
25          e. For such further relief as this Court may deem just and proper.
26                                         Jury Trial Demanded
27          Plaintiff demands a trial by jury on all counts so triable.
28


     AMENDED COMPLAINT                                 63                 CASE NO. 4:19-CV-02690-HSG
            Case 4:19-cv-02690-HSG Document 74 Filed 04/16/20 Page 64 of 64




     April 16, 2020                        Respectfully submitted,
 1
 2                                         /s/ Jacob A. Walker
                                           Jeffrey C. Block, pro hac vice
 3                                         Jacob A. Walker (SBN 271217)
                                           Block & Leviton LLP
 4
                                           260 Franklin Street, Suite 1860
 5                                         Boston, MA 02110
                                           jeff@blockesq.com
 6                                         jake@blockesq.com
 7
                                           Whitney E. Street (SBN 223870)
 8                                         Block & Leviton LLP
                                           100 Pine Street, Suite 1250
 9                                         San Francisco, CA 94111
                                           (415) 968-8999 phone
10
                                           whitney@blockesq.com
11
                                           Lead Counsel and Counsel for Plaintiff
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     AMENDED COMPLAINT                    64                CASE NO. 4:19-CV-02690-HSG
